Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 1 of 89 Page ID #:3650
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   Wednesday, November 20, 2019



   SUBMITTED THROUGH ECF


   Honorable Shashi H. Kewalramani
   George E. Brown, Jr. Federal Building and United States Courthouse
   3470 12th Street
   Riverside, CA 92501

   Re: Monster Energy Co. v. Vital Pharm., Inc., Case No. 5:18-cv-1882-
   JGB-SHK (C.D. Cal.)

   Dear Honorable Shashi H. Kewalramani:

         Plaintiff Monster Energy Company (“Monster”) submits the below letter brief in
   support of its request for Defendant Vital Pharmaceuticals, Inc. (“VPX”) to further
   supplement its responses to Interrogatories 4, 7, and 8.
Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 2 of 89 Page ID #:3651
                                                                                         Hon. Shashi Kewalramani
                                                                                         Wednesday, November 20,
                                                                                         2019
                                                                                         Page 2




           A.     Introduction

          An important component of Monster’s false advertising case against VPX is its
   allegation that VPX’s promotion of the “Super Creatine” in BANG energy drinks is
   deceptive. (ECF No. 61 ¶¶ 42-59.) Monster’s position on “Super Creatine” has been
   clear for months: Super Creatine “is functionally useless,” “does not release creatine,”
   and “offers no health benefits to consumers.” (Id. at 15 & ¶ 53.)

         In June and July 2019, Monster served three interrogatories to determine, and
   understand the basis for, VPX’s position on the purported benefits of Super Creatine:

          Interrogatory No. 4: “If YOU contend that the ‘Super Creatine’ in BANG
           creates positive health effects for drinkers, identify all publications, research
           papers, and DOCUMENTS supporting YOUR claim, and how that source
           supports YOUR claim that the ‘Super Creatine’ in BANG creates positive
           health effects for drinkers.”

          Interrogatory No. 7: “If YOU contend that the Super Creatine contained in
           BANG has an effect on the VITALS and SUBSTANCES1 in the human body,
           identify all such effects and all DOCUMENTS that support YOUR
           contention.”

          Interrogatory No. 8: “If YOU contend that the Super Creatine contained in
           BANG increases the circulating levels of creatine or creatinine in the human
           body, identify all bases supporting YOUR contention, including the
           approximate amount of the alleged increases.”

   (See Ex. 1 at 4; Ex. 2 at 3-4.) These interrogatories ask VPX to clearly state whether, in
   this litigation, they contend that Super Creatine (i) creates positive health effects, (ii) has
   an effect on vitals and substances in the human body, and (iii) increases the circulating
   level of creatine or creatinine in the human body. If VPX is not making these contentions,
   these Interrogatories require VPX to make only a short and simple statement saying “VPX
   is not making this contention.”

          VPX served its responses in July and August 2019. Monster then met-and-
   conferred with VPX on multiple occasions to see if VPX would supplement its responses
   to provide the requested information. (See Exs. 3, 4.) Monster agreed to provide VPX


   1 “VITALS” is defined to “include body temperature, blood pressure, heart rate and respiratory
   rate.” (Ex. 2 at 3.) “SUBSTANCES” is defined as “all substances naturally produced by the
   human body, including creatine and creatinine.” (Id.)
Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 3 of 89 Page ID #:3652
                                                                                                  Hon. Shashi Kewalramani
                                                                                                  Wednesday, November 20,
                                                                                                  2019
                                                                                                  Page 3




   five separate extensions for VPX to supplement its responses.2 VPX provided its final
   supplemental responses on October 30, 2019. (See Ex. 5 at 15, 27, 35)

          Despite these extensions and supplementation, VPX still has not clearly answered
   whether VPX is making any of these three contentions and, if so, VPX’s factual basis for
   making these contentions. Instead, VPX’s lengthy objections and evasive responses
   include confusing and irrelevant information and state that VPX is “explicitly reserv[ing]
   the right to make [these] contention[s] in this case in the future.” (Ex. 5 at 29, 37
   (emphasis added).) Monster still does not know whether VPX intends to make these
   contentions in this lawsuit, even though it is plainly entitled to this information.

         Thus, Monster has been forced to bring this motion to compel. For the reasons
   discussed below, this Court should compel VPX to provide clear and concise answers to
   the questions asked by these interrogatories.

           B.      Monster’s Interrogatories Seek Relevant Information

          “Relevance” for purposes of discovery “has been construed broadly to encompass
   any matter that bears on, or that reasonably could lead to other matter that could bear on,
   any issue that is or may be in the case.” Nguyen v. Lotus by Johnny Dung Inc., 2019 WL
   3064479, at *1 (C.D. Cal. June 5, 2019).

            Monster’s interrogatories easily satisfy this standard. By seeking VPX’s position
   on the effects of Super Creatine in the human body, these interrogatories directly relate
   to the allegations in Monster’s complaint and the issues framed by Judge Bernal’s prior
   orders. (See Order Denying Motion to Dismiss, ECF No. 95 at 14 (holding that Monster
   had stated a false advertising claim by alleging that “Super Creatine is unlike creatine in
   that it has no health benefits”); Order Denying Motion for Preliminary Injunction, ECF No.

   2 See Ex. 4 at 6 (“Please let us know by Tuesday, October 1 by 5pm PT if VPX intends to
   supplement its answers to Interrogatories 4, 7, and 8 to answer the queries posed by those
   interrogatories.”); id. at 5 (“[I]t has now been 13 days since Monster served its LR 37-1 letter.
   Please provide us with VPX’s final position by 4pm PT this Friday, October 4 so that we can
   either settle this discovery dispute or bring it to the attention of the Court.”); id. at 4 (“If you cannot
   send us a final answer by Monday, October 7 at 5pm PT, we will e-mail Judge Kewalramani and
   offer Tuesday, Thursday, and Friday as the parties’ availability for a telephonic conference.”); id.
   at 3 (“I hope that taking this extra time is in furtherance of a genuine desire to meet and confer to
   resolve our disputes and not simply a delay tactic. We look forward to your final response by this
   Friday, 10/11, at 4pm PT.”); id. (VPX on October 11 stating: “VPX is working on a response to
   supplement those 4 interrogatories and anticipates serving it on Monster within 2 weeks, by
   October 25.”); id. at 2 (VPX on October 25 stating: “In connection with those objections and likely
   supplementation of that interrogatory, we are still working on the supplemental responses to other
   interrogatories (4, 6, 7, 8) and will do so on [October 30].”) (emphasis added).
Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 4 of 89 Page ID #:3653
                                                                                       Hon. Shashi Kewalramani
                                                                                       Wednesday, November 20,
                                                                                       2019
                                                                                       Page 4




   122 at 6 (“[I]n order to prevail, Monster must demonstrate that Super Creatine does not
   provide the benefits of creatine.”).)

          And as this Court has recognized, Monster’s allegations about Super Creatine bear
   on at least three of Monster’s causes of action: “the Lanham Act false advertising claim,
   the unfair competition claim, and the false advertising claim.” (ECF No. 136 at 7.)

          Because Monster’s requests are relevant, the burden shifts to VPX to show that it
   properly resisted discovery. McGraw-Hill Companies, Inc., 2014 WL 1647385, at *8;
   DIRECTV, Inc. v. Trone, 209 F.R.D. 455, 458 (C.D. Cal. 2002) (“The party who resists
   discovery has the burden to show that discovery should not be allowed, and has the
   burden of clarifying, explaining, and supporting its objections.”). As set forth below, VPX
   cannot meet this burden.

          C.       VPX Has Failed to Provide Clear and Concise Answers to the
                   Questions Asked

          Parties “have a duty to provide true, explicit, responsive, complete and candid
   answers to interrogatories.” United States ex rel. Brown v. Celgene Corp., 2015 WL
   12731923, at *4 (C.D. Cal. July 24, 2015). Said another way, “answers to interrogatories
   must be responsive, full, complete and unevasive.” In re Rivera, 2017 WL 5163695, at
   *2 (C.D. Cal. Apr. 14, 2017).

          The opinion in Lincoln Benefit Life Co. v. Fundament, 2018 WL 7051064, at *3
   (C.D. Cal. Dec. 6, 2018), illustrates this rule and is on point. In that case (a life insurance
   dispute), the claimant posed several interrogatories “prefaced by the phrase ‘if YOU
   contend that PAULO is not dead.’” Id. To each interrogatory, the insurance company
   answered “not applicable.” Id. The court held that such responses were deficient
   because they “did not answer the question asked: does [the insurance company] contend
   that Paulo is not dead.” Id. As here, the propounding party “has a right to an answer to
   that question, and to the facts supporting such contention if [the responding party] so
   contends, in order to fairly prepare for trial.” Id.

          Just as in Lincoln Benefit, VPX has not satisfied its obligation to provide clear and
   precise answers. In response to each of Monster’s straightforward interrogatories, VPX
   provided 8 pages of irrelevant information. For example, responding to Monster’s request
   for VPX’s position on whether Super Creatine “increases the circulating levels of creatine
   or creatinine in the human body,” VPX stated, among other things, that:

                  “VPX’s BANG product is so successful that Monster introduced a nearly
                   identical product called REIGN.” (Ex. 5 at 40.)
Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 5 of 89 Page ID #:3654
                                                                                       Hon. Shashi Kewalramani
                                                                                       Wednesday, November 20,
                                                                                       2019
                                                                                       Page 5




                “BANG is infinitely safer and healthier than Monster.” (Id. at 43.)

                BANG is “a great tasting drink.” (Id. at 41.)

                “Monster has the burden of proving all elements of each cause of action.
                 Monster has not done so.” (Id. at 39.)

   These statements—and many others like them—have nothing to do with the
   interrogatories Monster posed to VPX.

          While packing its answer with irrelevant information, VPX also fails to answer the
   questions posed to it. Monster sought to identify VPX’s positions in this litigation by asking
   a series of “if you contend” interrogatories.” (Ex. 1 at 3-4; Ex. 2 at 3-4.) But VPX’s
   responses don’t even answer the threshold question imbedded in each interrogatory:
   whether VPX is or is not making these contentions in the first place.

           In fact, VPX not only fails to answer this inquiry, but “explicitly” refuses to do so.
   In its responses, VPX states: “While Responding Party is not aware of any previous
   contention that Responding Party has made in this litigation . . . , Responding Party
   explicitly reserves the right to make that contention in this case in the future.” (See
   Ex. 5. at 29, 37 (emphasis added).)

           VPX’s equivocation is inappropriate. Monster is entitled to plain responses to the
   questions it actually asked VPX. Lincoln Benefit, 2018 WL 7051064, at *3–4 (ordering
   party to serve verified, supplemental responses without objection where the plaintiff
   provided “an answer to the question asked” and “the facts supporting such contention if
   Plaintiff so contends”).

          VPX may argue that it has adequately answered Monster’s interrogatories by
   disclosing that it has not previously made the contentions at issue. In its responses, VPX
   notes, for example, that it “is not aware of any previous contention.” (Ex. 5 at 29
   (emphasis added).) VPX likewise responds that it “is not aware of any contentions VPX
   has made in this case or publicly.” (Id. at 21, 34, 42 (emphases added).) And during both
   the pre-motion conference and the meet-and-confer process, VPX argued that it would
   respond to Monster’s interrogatories only if Monster “point[ed] [VPX] to the specific
   contentions so VPX can review.” (Ex. 4 at 1; id. (“Monster has not provided any
   information for where VPX has made those contentions.”).)

          VPX misunderstands the proper scope of contention interrogatories. “It is proper
   for a party to propound contention interrogatories seeking identification of the opposing
   party’s positions and the evidence in support of those positions.” Bos. v. ClubCorp USA,
   Inc., 2019 WL 1873293, at *8 (C.D. Cal. Mar. 11, 2019). Interrogatories can properly be
Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 6 of 89 Page ID #:3655
                                                                                        Hon. Shashi Kewalramani
                                                                                        Wednesday, November 20,
                                                                                        2019
                                                                                        Page 6




   used “to require one’s opponent to state its position on an issue in controversy in writing
   and under oath.” In re Rail Freight Fuel Surcharge Antitrust Litig., 281 F.R.D. 1, 3 (D.D.C.
   2011). Such contention interrogatories serve the basic purpose of discovery: to make a
   trial “less a game of blind man’s bluff and more a fair contest with the basic issues and
   facts disclosed to the fullest practicable extent possible.” United States v. Procter &
   Gamble, 356 U.S. 677, 683 (1958).

            Monster therefore has the right to learn not only whether VPX has made a
   statement in the past, but also whether VPX is presently making a contention in this
   litigation, and if so, what are the facts supporting the contention. Monster seeks to learn—
   and has a right to learn—whether VPX is taking these positions as a defense to Monster’s
   claims. See Rivera, 2017 WL 5163695, at *2 (“The purpose of interrogatories is to limit
   and clarify the issues for the parties in preparation for further trial proceedings.”).3

          D.     Monster is Not Seeking “Premature” Expert Testimony

          VPX objects to Monster interrogatories “as seeking information that calls for expert
   opinion or a legal conclusion.” (Ex. 5 at 28, 36.) VPX believes that “[t]o the extent
   information will be analyzed by an expert, such information may be provided in an expert
   report.” (Id. at 36.)

            VPX is again wrong on the law. The mere fact that information will be provided to
   an expert does not shield it from discovery. Courts have repeatedly held that “[n]on-
   privileged facts known to” a party “are not immune from discovery simply because they
   will ultimately become part of an expert’s opinion.” Montgomery v. Wal-Mart Stores, Inc.,
   2015 WL 11233384, at *4 (S.D. Cal. July 17, 2015); Sony Corp. v. Vizio, Inc., 2009 WL
   10675358, at *1 (C.D. Cal. Oct. 23, 2009) (rejecting party’s argument that interrogatory
   on damages is solely “the subject of expert opinion” and ordering the party to “respond
   fully and completely to all discovery requests to the best of their knowledge, based on the
   information they have to date”). Indeed, courts have awarded sanctions for parties who
   withheld factual information in their possession “until the exchange of expert reports.”
   California v. Kinder Morgan Energy Partners, LP, 613 F. App’x 561, 563 (9th Cir. 2015)
   (affirming sanctions).


   3 In any event, even if VPX had a responsibility to identify only past statements and provide
   sources for those statements, VPX’s responses would still be deficient. In response to each of
   the interrogatories at issue, VPX claims that it “is not aware” of having made the statement,
   “except as compared to other energy drinks offered by competitors.” (Ex. 5 at 21, 34, 42
   (emphasis added).) VPX’s qualification of its answer is material. If VPX is aware of having made
   these contentions about “competitors”—presumably including Monster—it should at minimum
   disclose these contentions and the bases for the same.
Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 7 of 89 Page ID #:3656
                                                                                    Hon. Shashi Kewalramani
                                                                                    Wednesday, November 20,
                                                                                    2019
                                                                                    Page 7




           Thus, VPX must provide Monster its best answer based on its current knowledge.
   It would be surprising if VPX—which calls itself a “pharmaceuticals” company;4 claims to
   have conducted an “unprecedent 27 Double-Blind Placebo Controlled Gold Standard
   University Human Test Subject Studies”; and purports to be led by “the world’s leading
   authority, author, and developer of performance enhancing supplementation” (ECF No.
   61 ¶¶ 25, 33, 37)—knew so little about the ingredient it allegedly invented, patented, and
   now advertises so heavily. But, if so, that too is a significant fact to which Monster is
   entitled.

                                         *      *      *

          Monster’s interrogatories seek relevant information from VPX. VPX’s responses
   are deficient and VPX lacks any valid objection for failing to provide complete and concise
   answers. The Court should therefore compel VPX to comply with its discovery obligations
   and to supplement its responses to provide clear and concise responses to Monster’s
   interrogatories. Specifically, VPX should be ordered to either say that does not contend—
   and will not contend in this litigation—that Super Creatine (1) creates positive health
   effects for drinkers; (2) has an effect on the VITALS and SUBSTANCES in the human
   body; and (3) increases the circulating levels of creatine or creatinine in the human body;
   or that VPX does contend that Super Creatine has those effects and provide the facts
   supporting that contention.

   Sincerely,




   Moez Kaba

   Attachments

   cc:   Counsel of Record




   4“In Owoc’s words, ‘the acronym VP(x) actually stands for Vital Pharmaceuticals with the X
   appearing lower than VP similar to how it appears in RX.’” (ECF No. 61 ¶ 25.)
Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 8 of 89 Page ID #:3657




              EXHIBIT 1
Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 9 of 89 Page ID #:3658



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    8 corporation
    9                        UNITED STATES DISTRICT COURT
   10                       CENTRAL DISTRICT OF CALIFORNIA
   11
   12 MONSTER ENERGY COMPANY, a                   Case No. 5:18-cv-1882-JGB-SHK
      Delaware corporation,
   13                                             PLAINTIFF MONSTER ENERGY
                 Plaintiff,                       COMPANY’S FIRST SET OF
   14                                             SPECIAL INTERROGATORIES TO
            vs.                                   DEFENDANT VITAL
   15                                             PHARMACEUTICALS, INC.
      VITAL PHARMACEUTICALS, INC.,
   16 d/b/a VPX Sports, a Florida corporation;
      and JOHN H. OWOC a.k.a. JACK
   17 OWOC, an individual,
   18              Defendants.
   19
   20        PROPOUNDING PARTY:             Plaintiff Monster Energy Company
   21        RESPONDING PARTY:              Defendant Vital Pharmaceuticals, Inc.
   22        SET NO.:                       One
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            PLAINTIFF MONSTER ENERGY COMPANY’S FIRST SET OF SPECIAL INTERROGATORIES TO
                              DEFENDANT VITAL PHARMACEUTICALS, INC.
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Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 10 of 89 Page ID
                                 #:3659


 1         PLEASE TAKE NOTICE that Plaintiff Monster Energy Company hereby
 2 requests that Defendant Vital Pharmaceuticals Inc. d/b/a VPX Sports answer, in
 3 writing, the following First Set of Interrogatories within thirty (30) days after service
 4 hereof pursuant to Federal Rule of Civil Procedure 33, et seq.
 5                         DEFINITIONS AND INSTRUCTIONS
 6         1.    The terms “and” and “or” shall be construed conjunctively or
 7 disjunctively as necessary to make the Requests inclusive rather than exclusive; the
 8 singular shall include the plural and the plural shall include the singular; the use of a
 9 verb in any tense shall be construed as the use of the verb in all other tenses
10 whenever necessary to bring within the scope of the Requests any response that
11 might otherwise be construed outside their scope.
12         2.    The terms “reflecting, “referring,” or “relating to,” or any part thereof,
13 in addition to their customary and usual meaning, mean and refer to discussing,
14 constituting, mentioning, pertaining to, assessing, embodying, recording, stating,
15 concerning, constituting, mentioning, pertaining to, assessing, embodying, recording,
16 stating, concerning, describing touching upon, or summarizing.
17         3.    The term “BANG” refers to the Bang Energy line of energy drink
18 products.
19         4.    The term “DOCUMENT(S)” includes all written and graphic matter,
20 however produced or reproduced, of any kind or description, whether sent or
21 received or neither, including originals, non-identical copies, and drafts, and both
22 sides thereof, including but not limited to: letters, correspondence, papers,
23 memoranda, contracts, agreements, books, journals, ledgers, statements, reports,
24 studies, billings, invoices, worksheets, jottings, projections, notes, abstracts,
25 advertisements, drawings, audits, charges, balance sheets, income statements, checks,
26 diagrams, diaries, calendar logs, recordings, instructions, lists, minutes of meetings,
27 orders, resolutions, audio or visual images, facsimile transmissions, telegrams, wires,
28 cables, telexes, electronic mail, messages, text messages, chat messages sent via any
                                               -2-
         PLAINTIFF MONSTER ENERGY COMPANY’S FIRST SET OF SPECIAL INTERROGATORIES TO
                           DEFENDANT VITAL PHARMACEUTICALS, INC.
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Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 11 of 89 Page ID
                                 #:3660


 1 online messaging service (including, without limitation, WeChat, WhatsApp, Signal,
 2 Facebook Messenger, Instagram, Hangouts, Google chat, and Skype), comments and
 3 posts (whether text, photo, video, or otherwise) on SOCIAL MEDIA applications
 4 (including, without limitation, Facebook, Instagram, and Twitter), resumes,
 5 summaries, tabulations, tallies, statistical analyses, tapes, computer files stored by
 6 any electronic means (including, without limitation, on cloud-based storage
 7 platforms such as Dropbox, Google Drive, iCloud, OneDrive, and SharePoint),
 8 computer printouts, and all other informal or formal writing or tangible things on
 9 which any handwriting, typing, printing, video or sound is recorded or reproduced,
10 and any and all amendments or supplements to all of the foregoing, whether prepared
11 by a party or another PERSON.
12        5.     The term “MONSTER” refers to Plaintiff Monster Energy Company.
13        6.     The term “YOU” or “YOUR” refers to VPX, as well as its agents and
14 representatives.
15        7.     The term “VPX” refers to Vital Pharmaceuticals, Inc. d/b/a VPX Sports,
16 as well as its agents and representatives.
17                       REQUEST FOR INTERROGATORIES
18 INTERROGATORY NO. 1
19        State the formula for YOUR BANG energy drink, including the amount used
20 of each ingredient. To the extent the formula is different for each flavor of BANG,
21 state the formula for each flavor.
22 INTERROGATORY NO. 2
23        If YOU contend that BANG contains creatine, state all bases for YOUR
24 contention.
25 INTERROGATORY NO. 3
26        If YOU contend that BANG contains creatine, identify all publications,
27 research papers, and DOCUMENTS supporting YOUR claim, and how that source
28 supports YOUR claim that BANG contains creatine.
                                                -3-
         PLAINTIFF MONSTER ENERGY COMPANY’S FIRST SET OF SPECIAL INTERROGATORIES TO
                           DEFENDANT VITAL PHARMACEUTICALS, INC.
     0
Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 12 of 89 Page ID
                                 #:3661


 1 INTERROGATORY NO. 4
 2        If YOU contend that the “Super Creatine” in BANG creates positive health
 3 effects for drinkers, identify all publications, research papers, and DOCUMENTS
 4 supporting YOUR claim, and how that source supports YOUR claim that the “Super
 5 Creatine” in BANG creates positive health effects for drinkers.
 6 INTERROGATORY NO. 5
 7        State the locations and custodians of all DOCUMENTS and nonwritten files—
 8 including video and audio files—relating to the allegations and claims in Monster’s
 9 First Amended Complaint (ECF 61).
10
11 Dated: June 7, 2019                   HUESTON HENNIGAN LLP
12
13                                       By: __/s/ Steven N. Feldman
                                             Steven N. Feldman
14                                           Attorney for Plaintiff Monster
                                             Energy Company
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         PLAINTIFF MONSTER ENERGY COMPANY’S FIRST SET OF SPECIAL INTERROGATORIES TO
                           DEFENDANT VITAL PHARMACEUTICALS, INC.
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Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 13 of 89 Page ID
                                 #:3662




           EXHIBIT 2
Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 14 of 89 Page ID
                                 #:3663


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 8 corporation
 9                       UNITED STATES DISTRICT COURT
10                      CENTRAL DISTRICT OF CALIFORNIA
11
12 MONSTER ENERGY COMPANY, a                  Case No. 5:18-cv-1882-JGB-SHK
   Delaware corporation,
13                                            PLAINTIFF MONSTER ENERGY
              Plaintiff,                      COMPANY’S SECOND SET OF
14                                            SPECIAL INTERROGATORIES TO
         vs.                                  DEFENDANT VITAL
15                                            PHARMACEUTICALS, INC.
   VITAL PHARMACEUTICALS, INC.,
16 d/b/a VPX Sports, a Florida corporation;
   and JOHN H. OWOC a.k.a. JACK
17 OWOC, an individual,
18              Defendants.
19
20
21        PROPOUNDING PARTY:            Plaintiff Monster Energy Company
22        RESPONDING PARTY:             Defendant Vital Pharmaceuticals, Inc.
23        SET NO.:                      Two
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       PLAINTIFF MONSTER ENERGY COMPANY’S SECOND SET OF SPECIAL INTERROGATORIES TO
                          DEFENDANT VITAL PHARMACEUTICALS, INC.
Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 15 of 89 Page ID
                                 #:3664


 1         PLEASE TAKE NOTICE that Plaintiff Monster Energy Company hereby
 2 requests that Defendant Vital Pharmaceuticals Inc. d/b/a VPX Sports answer, in
 3 writing, the following Second Set of Interrogatories within thirty (30) days after
 4 service hereof pursuant to Federal Rule of Civil Procedure 33, et seq.
 5                         DEFINITIONS AND INSTRUCTIONS
 6         1.    The terms “and” and “or” shall be construed conjunctively or
 7 disjunctively as necessary to make the Requests inclusive rather than exclusive; the
 8 singular shall include the plural and the plural shall include the singular; the use of a
 9 verb in any tense shall be construed as the use of the verb in all other tenses
10 whenever necessary to bring within the scope of the Requests any response that
11 might otherwise be construed outside their scope.
12         2.    The term “BANG” refers to the Bang Energy line of energy drink
13 products.
14         3.    The term “DOCUMENT(S)” includes all written and graphic matter,
15 however produced or reproduced, of any kind or description, whether sent or
16 received or neither, including originals, non-identical copies, and drafts, and both
17 sides thereof, including but not limited to: letters, correspondence, papers,
18 memoranda, contracts, agreements, books, journals, ledgers, statements, reports,
19 studies, billings, invoices, worksheets, jottings, projections, notes, abstracts,
20 advertisements, drawings, audits, charges, balance sheets, income statements, checks,
21 diagrams, diaries, calendar logs, recordings, instructions, lists, minutes of meetings,
22 orders, resolutions, audio or visual images, facsimile transmissions, telegrams, wires,
23 cables, telexes, electronic mail, messages, text messages, chat messages sent via any
24 online messaging service (including, without limitation, WeChat, WhatsApp, Signal,
25 Facebook Messenger, Instagram, Hangouts, Google chat, and Skype), comments and
26 posts (whether text, photo, video, or otherwise) on SOCIAL MEDIA applications
27 (including, without limitation, Facebook, Instagram, and Twitter), resumes,
28 summaries, tabulations, tallies, statistical analyses, tapes, computer files stored by
                                               -2-
        PLAINTIFF MONSTER ENERGY COMPANY’S SECOND SET OF SPECIAL INTERROGATORIES TO
                           DEFENDANT VITAL PHARMACEUTICALS, INC.
Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 16 of 89 Page ID
                                 #:3665


 1 any electronic means (including, without limitation, on cloud-based storage
 2 platforms such as Dropbox, Google Drive, iCloud, OneDrive, and SharePoint),
 3 computer printouts, and all other informal or formal writing or tangible things on
 4 which any handwriting, typing, printing, video or sound is recorded or reproduced,
 5 and any and all amendments or supplements to all of the foregoing, whether prepared
 6 by a party or another PERSON.
 7        4.     The term “SUBSTANCES” refers to all substances naturally produced
 8 by the human body, including creatine and creatinine.
 9        5.     The term “YOU” or “YOUR” refers to VPX, as well as its agents and
10 representatives.
11        6.     The term “VITALS” includes body temperature, blood pressure, heart
12 rate, and respiratory rate.
13        7.     The term “VPX” refers to Vital Pharmaceuticals, Inc. d/b/a VPX Sports,
14 as well as its agents and representatives.
15                       REQUEST FOR INTERROGATORIES
16 INTERROGATORY NO. 6
17        Explain what the letters and numbers on the bottom of each BANG can refer
18 to, including by identifying the information necessary to confirm date of production,
19 location of production, production facility, and/or expiration date of the product
20 indicated by each combination of letters and/or numbers. For reference, Exhibit A
21 contains pictures of bottoms of a sample of BANG cans.
22 INTERROGATORY NO. 7
23        If YOU contend that the Super Creatine contained in BANG has an effect on
24 the VITALS and SUBSTANCES in the human body, identify all such effects and all
25 DOCUMENTS that support YOUR contention.
26 INTERROGATORY NO. 8
27        If YOU contend that the Super Creatine contained in BANG increases the
28 circulating levels of creatine or creatinine in the human body, identify all bases
                                                -3-
        PLAINTIFF MONSTER ENERGY COMPANY’S SECOND SET OF SPECIAL INTERROGATORIES TO
                           DEFENDANT VITAL PHARMACEUTICALS, INC.
Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 17 of 89 Page ID
                                 #:3666


 1 supporting YOUR contention, including the approximate amount of the alleged
 2 increases.
 3
 4 Dated: July 10, 2019                 HUESTON HENNIGAN LLP
 5
 6                                      By: __/s/ Steven N. Feldman
                                            Steven N. Feldman
 7                                          Attorney for Plaintiff Monster
                                            Energy Company
 8
 9
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                                          -4-
       PLAINTIFF MONSTER ENERGY COMPANY’S SECOND SET OF SPECIAL INTERROGATORIES TO
                          DEFENDANT VITAL PHARMACEUTICALS, INC.
Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 18 of 89 Page ID
                                 #:3667




                  EXHIBIT A
Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 19 of 89 Page ID
                                 #:3668
Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 20 of 89 Page ID
                                 #:3669
Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 21 of 89 Page ID
                                 #:3670
Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 22 of 89 Page ID
                                 #:3671
Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 23 of 89 Page ID
                                 #:3672


 1                                 PROOF OF SERVICE
 2        I am employed in the County of Los Angeles, State of California. I am over
   the age of 18 and not a party to the within action. My business address is 523 West
 3 6th Street, Suite 400, Los Angeles, CA 90014.
 4        On July 10, 2019, I served the foregoing document(s) described as:
 5       PLAINTIFF MONSTER ENERGY COMPANY’S SECOND
         SET OF SPECIAL INTERROGATORIES TO DEFENDANT
 6       VITAL PHARMACEUTICALS, INC.
   on the interested parties in this action as stated below:
 7
           E-MAIL: hheffner@gordonrees.com;
 8         tbranson@gordonrees.com; mkanach@grsm.com;
 9         mscully@grsm.com; sflynn@grsm.com;
           erica@ericawstump.com; frank.massabki@vpxsports.com;
10         jlewis@grsm.com; marc@kestenlex.com
11         Counsel for Defendants Vital Pharmaceuticals, Inc. and John
           H. Owoc
12
     X    (BY E-MAIL) I transmitted a true copy of the foregoing document(s) to the e-
13        mail addresses set forth above.
14 I declare under penalty of perjury that the foregoing is true and correct.
15        Executed on July 10, 2019, at Los Angeles, California.
16
                Sourabh Mishra                             /s/ Sourabh Mishra
17            (Type or print name)                                (Signature)
18
19
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21
22
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27
28

                                       PROOF OF SERVICE
Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 24 of 89 Page ID
                                 #:3673




           EXHIBIT 3
      Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 25 of 89 Page ID
                                        #:3674
                                    STEVEN N. FELDMAN sfeldman@hueston.com 523 West 6th Street
                                                                   D: 213 788 4272     Suite 400
                                                                   T: 213 788 4340     Los Angeles, CA 90014
                                                                   F: 888 775 0898




Wednesday, September 18, 2019


VIA E-MAIL


Michael D. Kanach
Gordon Rees Scully Mansukhani, LLP
275 Battery Street, Suite 2000
San Francisco, CA 94111
mkanach@gordonrees.com

Attorney for Defendants Vital Pharmaceuticals, Inc. & John H. Owoc

Re:       Monster Energy Co. v. Vital Pharmaceuticals, Inc., No. 5:18-cv-01882-JGB-SHK,
          (United States District Court, Central District of California)

Dear Mr. Kanach:

         I write regarding deficiencies in Defendants Vital Pharmaceuticals, Inc.’s (“VPX”) response to
Plaintiff Monster Energy Company’s (“Monster”) discovery requests. Specifically, I address herein
Defendants’ inadequate responses to Monster’s (1) First Set of Special Interrogatories (“ROGs”) to VPX;
and (2) Second Set of ROGs to VPX.

       In light of the below deficiencies, please let me know when you are available to meet and confer
regarding the below issues and pursuant to Local Rule 37-1.

I.        Monster’s ROGs Concerning VPX’s Positions Relating to Super Creatine

       As VPX is aware, a key issue relating to Monster’s false advertising claims is whether the alleged
Super Creatine in BANG creates positive health effects for drinkers. (See, e.g., ECF 61 (FAC) ¶ 53.)
Indeed, Judge Bernal, held in his motion to dismiss order that “the FAC makes the specific and fully
consistent allegations that…(2) Super Creatine is unlike creatine in that it has no health benefits….” (ECF
95 at 14.)

         Monster thus served multiple ROGs targeted at assessing VPX’s positions and evidence relating to
this claim. Specifically:

         ROG No. 4. “If YOU contend that the ‘Super Creatine’ in BANG creates positive health effects for
          drinkers, identify all publications, research papers, and DOCUMENTS supporting YOUR claim, and
          how that source supports YOUR claim that the ‘Super Creatine’ in BANG creates positive health
          effects for drinkers.”

         ROG No. 7. “If YOU contend that the Super Creatine contained in BANG has an effect on the
          VITALS and SUBSTANCES in the human body, identify all such effects and all DOCUMENTS that
          support YOUR contention.”
      Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 26 of 89 Page ID
                                       #:3675                        Wednesday, September 18,
                                                                                            2019
                                                                                            Page 2




         ROG No. 8. “If YOU contend that the Super Creatine contained in BANG increases the circulating
          levels of creatine or creatinine in the human body, identify all bases supporting YOUR contention,
          including the approximate amount of the alleged increases.”

       In its answer to these ROGs, Defendants largely provided the same response, that: (1) the ROGs
seek expert testimony; (2) VPX has never made a contention that Super Creatine in BANG has an effect on
the human body but reserves its right to do so; and (3) cites irrelevant articles that do not identify what effect
Super Creatine has on the human body.

         VPX’s offered responses are plainly inadequate. “Super Creatine” is a compound that VPX claims
that its CEO developed and that only VPX can purportedly use in beverages based on its patent. There is
no reason why VPX cannot state its position and any support for how the Super Creatine in BANG affects
the human body, including, but not limited to, whether it creates positive health effects on its own, whether
it has an effect on the vitals and substances in the human body, and whether it increases the circulating
levels of creatine in the human body. Indeed, it would be surprising if VPX did not already have this
information, as it has widely marketed the Super Creatine in BANG and sold BANG beverages that allegedly
contain Super Creatine.

      With the upcoming opening expert report deadline and fact discovery deadline, it is imperative that
VPX promptly supplement its responses to clearly identify its position with respect to how the Super Creatine
in BANG affects the human body.

II.       Monster’s ROG Concerning the BANG Can

        In ROG No. 6, Monster asked that VPX “Explain what the letters and numbers on the bottom of each
BANG can refer to, including by identifying the information necessary to confirm date of production, location
of production, production facility, and/or expiration date of the product indicated by each combination of
letters and/or numbers.” To make clear what letters and numbers the ROG referred to, Monster attached
Exhibit A as an example with pictures of bottoms of a sample of BANG cans.

       In response, VPX stated generally what the letters and numbers refer to, but only included the
requested specific information about the four sample cans that Monster provided.

       VPX’s response is incomplete. To fully answer this ROG, VPX must identify all of the location
symbols that VPX uses on BANG and what they refer to. Moreover, VPX must identify how a person can
determine the date of production, including, but not limited to, by using the “best by” date.

                                                       ***

       As stated above, Monster wishes to resolve these disputes without Court intervention and thus
respectfully requests that Defendants provide a time that they are available to meet and confer. If
Defendants do not provide such a time, Monster intends to move to compel.
    Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 27 of 89 Page ID
                                     #:3676                        Wednesday, September 18,
                                                                          2019
                                                                          Page 3




Sincerely,




Steven N. Feldman

cc: Other counsel of record
Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 28 of 89 Page ID
                                 #:3677




           EXHIBIT 4
Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 29 of 89 Page ID
                                 #:3678

 From:                 Sourabh Mishra
 To:                   Michael Kanach
 Cc:                   hheffner@grsm.com; Steven N. Feldman; Michael Todisco; tbranson@grsm.com; jmdoherty@grsm.com; sfrey@grsm.com; Moez M. Kaba
 Subject:              RE: Monster v VPX - VPX Supplementing interrogatories
 Date:                 Monday, November 4, 2019 4:23:14 PM


 Michael,

 We have discussed the point you raised below multiple times by e-mail and phone. To name just one example:

        In the October 1 email below, you stated: “Please point to the specific statements where you believe VPX has made those contentions . . . .”
        The same day, I responded: “It seems from your below e-mail that VPX’s position is that it has never claimed that the Super Creatine in BANG creates positive health
        effects. As shown by, among other things, paragraphs 46 to 48 of the First Amended Complaint (‘FAC’), this is wrong. Monster is simply seeking VPX’s support for its
        positions based on the information in its possession, as is its right.”
        And then on October 11, you claimed: “VPX is working on a response to supplement those 4 interrogatories and anticipates serving it on Monster within 2 weeks, by
        October 25.”

 You then last week served interrogatory responses that do not address the deficiencies Monster identified and now are making the same flawed arguments you made more than
 a month ago before you agreed to supplement. Based on these responses and your email below, Monster is forced to conclude that VPX is not willing to state whether it is or is
 not taking these positions.

 Monster thus has no choice but to move to compel. We will let the Court know that the parties are available on November 5, 8, 12, and 13.

 Regards,
 Sourabh


  Sourabh Mishra       ​




  D: 949.356.5536



 From: Michael Kanach <mkanach@grsm.com>
 Sent: Monday, November 4, 2019 3:24 PM
 To: Sourabh Mishra <smishra@hueston.com>
 Cc: hheffner@grsm.com; Steven N. Feldman <sfeldman@hueston.com>; Michael Todisco <mtodisco@hueston.com>; tbranson@grsm.com; jmdoherty@grsm.com;
 sfrey@grsm.com; Moez M. Kaba <mkaba@hueston.com>
 Subject: RE: Monster v VPX - VPX Supplementing interrogatories

 Hi Sourabh,
 I understand Monster doesn’t like the answers to which VPX has responded, for the “if you contend” contention interrogatories (Interrogatories 4, 7, and 8), which are essentially
 hypothetical questions at this point. If you believe that these are not hypothetical statements, please point us to those specific contentions so VPX can review and supplement if
 necessary.

 We have conducted a reasonable investigation (which continues via the document review under way) in an effort to furnish all information available to VPX; however, at this
 time, we are still not aware of any such contentions made by VPX. As you know, we asked and Monster has not provided any information for where VPX has made those
 contentions. For example, as addressed in the supplemental interrogatory responses, Monster stated during meet and confer discussions that there were statements in the
 allegations in specific paragraphs of the First Amended Complaint. We reviewed those statements and related video and public statements from VPX and Jack Owoc and have
 determined that those half-quotations were not made about the creatyl-l-leucine in BANG. Monster has not – despite requests for this information – provided any information
 for where these half quotes originate.
 If you point us to specific statements that Monster claims VPX has made related to these interrogatories, VPX can review those and try to avoid unnecessary motion practice.

 If Monster does not want to provide this information and would rather move the court to compel further supplemental interrogatory responses, Holly and I are available
 November 12 and 13.


 Regards, -MIKE


 MICHAEL D. KANACH | Partner

 GORDON REES SCULLY MANSUKHANI
 YOUR 50 STATE PARTNER™

 275 Battery Street, Suite 2000
 San Francisco, CA 94111
 D: 415-875-3211 | P: 415-986-5900 | mkanach@grsm.com

 www.grsm.com
 vCard | Bio | LinkedIn




            From: Sourabh Mishra <smishra@hueston.com>
            Sent: Sunday, November 3, 2019 5:42 PM
            To: Michael Kanach <mkanach@grsm.com>
            Cc: Holly Heffner <hheffner@grsm.com>; Steven N. Feldman <sfeldman@hueston.com>; Michael Todisco <mtodisco@hueston.com>; Timothy Branson
            <tbranson@grsm.com>; JoAnna Doherty <jmdoherty@grsm.com>; Sara Anderson Frey <sfrey@grsm.com>; Moez M. Kaba <mkaba@hueston.com>
            Subject: RE: Monster v VPX - VPX Supplementing interrogatories

            Michael,

            We have not heard from you on the below. We intend to e-mail Judge Kewalramani by close of business tomorrow with our availability for a pre-motion telephonic
Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 30 of 89 Page ID
                                 #:3679
    hearing: November 5, 8, 11, 12, and 13. Please let us know if any of these dates do not work for you. If we do not hear from you by 5pm PT tomorrow, we will assume
    all of those dates work for you.

    Regards,
    Sourabh



     Sourabh Mishra   ​




     ___________________________________
     HUESTON HENNIGAN LLP
     D: 949.356.5536
     smishra@hueston.com
     Biography


    From: Sourabh Mishra <smishra@hueston.com>
    Sent: Thursday, October 31, 2019 3:58 PM
    To: Michael Kanach <mkanach@grsm.com>
    Cc: hheffner@grsm.com; Steven N. Feldman <sfeldman@hueston.com>; Michael Todisco <mtodisco@hueston.com>; tbranson@grsm.com; jmdoherty@grsm.com;
    sfrey@grsm.com; Moez M. Kaba <mkaba@hueston.com>
    Subject: RE: Monster v VPX - VPX Supplementing interrogatories

    Michael,

    We received VPX’s supplemental responses this morning. Despite Monster’s willingness to provide VPX an additional 2 weeks to supplement these responses, VPX has
    still not answered the questions requested by the interrogatories.

    For example, we still cannot tell from VPX’s eight-page answer to Interrogatory 4 whether VPX contends that the Super Creatine in BANG creates positive health effects
    for drinkers. If the answer is yes, VPX must provide what those positive health effects are and its support, which VPX has still not done. If the answer is no, VPX must
    clearly state so in its response, which VPX has also not done.

    Similarly, we cannot tell from VPX’s confusing and meandering responses to Interrogatories 7 and 8 whether VPX contends that the Super Creatine contained in BANG
    has an effect on the VITALS and SUBSTANCES in the human body and whether VPX contends that the Super Creatine contained in BANG increases the circulating levels of
    creatine or creatinine in the human body. Again, VPX needs to clearly state whether the answer to either question is yes or no and, if yes, provide its basis.

    Based on these responses, Monster is forced to move forward to compel responses to Interrogatories 4, 7, and 8 next week with Magistrate Kewalramani and will send
    him an e-mail tomorrow evening with the availability for a telephonic conference that you included in your e-mail below.

    However, if VPX supplements the above interrogatories in a straightforward and clear manner—including, but not limited to, answering the precise questions posed by
    the interrogatories—by 5 pm PT tomorrow, Monster is willing to consider putting off the conference for now. Without receiving an additional supplementation by then,
    Monster will send Magistrate Kewalramani an e-mail tomorrow evening.

    Regards,
    Sourabh




     Sourabh Mishra   ​




     ___________________________________
     HUESTON HENNIGAN LLP
     D: 949.356.5536
     smishra@hueston.com
     Biography


    From: Michael Kanach <mkanach@grsm.com>
    Sent: Friday, October 25, 2019 7:59 PM
    To: Sourabh Mishra <smishra@hueston.com>
    Cc: hheffner@grsm.com; Steven N. Feldman <sfeldman@hueston.com>; Michael Todisco <mtodisco@hueston.com>; tbranson@grsm.com; jmdoherty@grsm.com;
    sfrey@grsm.com
    Subject: Monster v VPX - VPX Supplementing interrogatories

    Sourabh,
    Given Defendants’ deadline next Wednesday related to the objections to the Magistrate Judge’s Order compelling production of BANG’s formula, VPX anticipates that it
    will supplement Interrogatory No. 1 on that day along with filings its objections.
    In connection with those objections and likely supplementation of that interrogatory, we are still working on the supplemental responses to other interrogatories (4, 6, 7,
    8) and will do so on Wednesday next week.

    In your prior email, you asked for dates available the week of November 4th in the event that Monster chooses to move to compel with respect to those supplemented
    Interrogatories, even after VPX supplements them. I can be available on the 4th, 5th, or 8th.

    Regards, -MIKE



            From: Sourabh Mishra <smishra@hueston.com>
            Sent: Friday, October 11, 2019 4:31 PM
            To: Michael Kanach <mkanach@grsm.com>
            Cc: Holly Heffner <hheffner@grsm.com>; Steven N. Feldman <sfeldman@hueston.com>; Michael Todisco <mtodisco@hueston.com>; Timothy Branson
            <tbranson@grsm.com>; JoAnna Doherty <jmdoherty@grsm.com>; Sara Anderson Frey <sfrey@grsm.com>
            Subject: RE: [Monster/VPX] Meet and Confer re Search Terms
Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 31 of 89 Page ID
                                 #:3680

       Michael,

       Thank you for your e-mail. We hope that VPX’s supplemental response will sufficiently address the deficiencies in its interrogatory responses. Please confirm by
       Monday, 10/14, that VPX’s supplemental responses will include the substantive responses that Monster has requested throughout this meet and confer process.

       If Monster does not receive interrogatory responses by October 25 or the supplemental responses do not sufficiently address the deficiencies, we will have no
       choice but to request a prompt telephonic conference with Judge Kewalramani for the week of November 4. Please be prepared to promptly give us your
       availability for a telephonic conference for that week. We cannot delay this issue any longer.

       Regards,
       Sourabh



        Sourabh Mishra    ​




        ___________________________________
        HUESTON HENNIGAN LLP
        D: 949.356.5536
        smishra@hueston.com
        Biography


       From: Michael Kanach <mkanach@grsm.com>
       Sent: Friday, October 11, 2019 4:22 PM
       To: Sourabh Mishra <smishra@hueston.com>
       Cc: hheffner@grsm.com; Steven N. Feldman <sfeldman@hueston.com>; Michael Todisco <mtodisco@hueston.com>; tbranson@grsm.com;
       jmdoherty@grsm.com; sfrey@grsm.com
       Subject: RE: [Monster/VPX] Meet and Confer re Search Terms

       Hi Sourabh,
       Thanks for your email.

       VPX is working on a response to supplement those 4 interrogatories and anticipates serving it on Monster within 2 weeks, by October 25.

       Regards, -MIKE




              From: Sourabh Mishra <smishra@hueston.com>
              Sent: Friday, October 11, 2019 4:17 PM
              To: Michael Kanach <mkanach@grsm.com>
              Cc: Holly Heffner <hheffner@grsm.com>; Steven N. Feldman <sfeldman@hueston.com>; Michael Todisco <mtodisco@hueston.com>; Timothy Branson
              <tbranson@grsm.com>; JoAnna Doherty <jmdoherty@grsm.com>; Sara Anderson Frey <sfrey@grsm.com>
              Subject: RE: [Monster/VPX] Meet and Confer re Search Terms

              Michael – What is your final answer on the below? We’ll assume that you are available Tuesday (10/15); Thursday (10/17); and Friday (10/18) for a
              conference with Judge Kewalramani if we do not hear otherwise from you today.

              Regards,
              Sourabh


                  Sourabh Mishra  ​




                  ___________________________________
                  HUESTON HENNIGAN LLP
                  D: 949.356.5536
                  smishra@hueston.com
                  Biography


              From: Sourabh Mishra <smishra@hueston.com>
              Sent: Tuesday, October 8, 2019 12:28 PM
              To: Michael Kanach <mkanach@grsm.com>
              Cc: hheffner@grsm.com; Steven N. Feldman <sfeldman@hueston.com>; Michael Todisco <mtodisco@hueston.com>; tbranson@grsm.com;
              jmdoherty@grsm.com; sfrey@grsm.com
              Subject: RE: [Monster/VPX] Meet and Confer re Search Terms

              Michael,

              As I stated in our correspondence below, I hope that taking this extra time is in furtherance of a genuine desire to meet and confer to resolve our
              disputes and not simply a delay tactic. We look forward to your final response by this Friday, 10/11, at 4pm PT. If VPX is not willing to amend as
              Monster requests, please let us know which three days next week you are available for a telephonic conference with Judge Kewalramani: Monday
              (10/14); Tuesday (10/15); Thursday (10/17); and/or Friday (10/18).

              Regards,
              Sourabh


                  Sourabh Mishra  ​




                  ___________________________________
                  HUESTON HENNIGAN LLP
Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 32 of 89 Page ID
                                 #:3681
            D: 949.356.5536
            smishra@hueston.com
            Biography


           From: Michael Kanach <mkanach@grsm.com>
           Sent: Monday, October 7, 2019 3:45 PM
           To: Sourabh Mishra <smishra@hueston.com>
           Cc: hheffner@grsm.com; Steven N. Feldman <sfeldman@hueston.com>; Michael Todisco <mtodisco@hueston.com>; tbranson@grsm.com;
           jmdoherty@grsm.com; sfrey@grsm.com
           Subject: RE: [Monster/VPX] Meet and Confer re Search Terms

           Hi Sourabh,
           I am hoping to provide you with a further response by this Friday as to supplementation of those 3 interrogatories.
           As you know, we have been parallel-tracking several discovery matters with Monster in this case including last week’s document production, ongoing
           meet and confer regarding both parties’ proposed search terms and objections, and objections to discovery to third party customers (GNC and The
           Vitamin Shoppe). We will let you know if we have a final position sooner.

           Regards, -MIKE


           MICHAEL D. KANACH | Partner

           GORDON REES SCULLY MANSUKHANI
           YOUR 50 STATE PARTNER™

           275 Battery Street, Suite 2000
           San Francisco, CA 94111
           D: 415-875-3211 | P: 415-986-5900 | mkanach@grsm.com

           www.grsm.com
           vCard | Bio | LinkedIn




                  From: Sourabh Mishra <smishra@hueston.com>
                  Sent: Friday, October 4, 2019 3:39 PM
                  To: Michael Kanach <mkanach@grsm.com>
                  Cc: Holly Heffner <hheffner@grsm.com>; Steven N. Feldman <sfeldman@hueston.com>; Michael Todisco <mtodisco@hueston.com>; Timothy
                  Branson <tbranson@grsm.com>; JoAnna Doherty <jmdoherty@grsm.com>; Sara Anderson Frey <sfrey@grsm.com>
                  Subject: RE: [Monster/VPX] Meet and Confer re Search Terms

                  Michael,

                  When do you expect to provide us with a final position on whether VPX will agree to supplement Interrogatories 4, 7, and 8? It has now been
                  well beyond ten days since Monster served its LR 37-1 letter and so Monster is well within its right to begin the formal motion to compel process.

                  If you cannot send us a final answer by Monday, October 7 at 5pm PT, we will e-mail Judge Kewalramani and offer Tuesday, Thursday, and Friday
                  as the parties’ availability for a telephonic conference. Please let us know as soon as possible.

                  Regards,
                  Sourabh


                    Sourabh Mishra  ​




                    ___________________________________
                    HUESTON HENNIGAN LLP
                    D: 949.356.5536
                    smishra@hueston.com
                    Biography


                  From: Michael Kanach <mkanach@grsm.com>
                  Sent: Friday, October 4, 2019 3:33 PM
                  To: Sourabh Mishra <smishra@hueston.com>
                  Cc: hheffner@grsm.com; Steven N. Feldman <sfeldman@hueston.com>; Michael Todisco <mtodisco@hueston.com>; tbranson@grsm.com;
                  jmdoherty@grsm.com; sfrey@grsm.com
                  Subject: RE: [Monster/VPX] Meet and Confer re Search Terms

                  Hi Sourabh,
                  We are still considering Monster’s request to VPX to supplement certain interrogatories. You asked for our position by today. I don’t have a final
                  position.

                  Regards, -MIKE



                  From: Sourabh Mishra <smishra@hueston.com>
                  Sent: Tuesday, October 1, 2019 5:55 PM
                  To: Michael Kanach <mkanach@grsm.com>
                  Cc: Holly Heffner <hheffner@grsm.com>; Steven N. Feldman <sfeldman@hueston.com>; Michael Todisco <mtodisco@hueston.com>; Timothy
                  Branson <tbranson@grsm.com>; JoAnna Doherty <jmdoherty@grsm.com>; Sara Anderson Frey <sfrey@grsm.com>
                  Subject: RE: [Monster/VPX] Meet and Confer re Search Terms
Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 33 of 89 Page ID
                                 #:3682
              Michael,

              It would have been helpful if you had requested the below clarifications during the 10 days provided in LR 37-1 for the parties to meet and
              confer. We hope that your below requests are truly in furtherance of a genuine desire to meet and confer and not simply a delay tactic.

              With respect to your questions:

                  1.    Interrogatory No. 4 asks whether VPX contends that the “Super Creatine” in BANG creates positive health effects and, if so, what the
                       support for that is. It seems from your below e-mail that VPX’s position is that it has never claimed that the Super Creatine in BANG
                       creates positive health effects. As shown by, among other things, paragraphs 46 to 48 of the First Amended Complaint (“FAC”), this is
                       wrong. Monster is simply seeking VPX’s support for its positions based on the information in its possession, as is its right. Relatedly,
                       Interrogatories Nos. 7 and 8 further attempt to clarify these health effects by asking how the Super Creatine in BANG effects the vitals,
                       substances, and circulating levels of creatine in the body. To reiterate, it would be surprising if VPX did not have this type of basic
                       information about the effects of its own product on humans – especially when it makes claims about the health effects of Super Creatine
                       – and thus Monster is not requesting any information that VPX should not reasonably already have in its possession. This thus does not
                       implicate a need for expert testimony at this stage.

                  2.    Interrogatories Nos. 4, 7, and 8 relate to Monster’s false advertising claims in its First, Second, and Third Causes of Action. And they also
                       relate to Monster’s allegation in paragraph 53 of the FAC that the Super Creatine in BANG is useless.

                  3.    Interrogatories Nos. 4, 7, and 8 all request information relating to the “Super Creatine contained in BANG” or “in BANG.” This necessarily
                       relates to the effect of the amount of Super Creatine in BANG.

              That said, it has now been 13 days since Monster served its LR 37-1 letter. Please provide us with VPX’s final position by 4pm PT this Friday,
              October 4 so that we can either settle this discovery dispute or bring it to the attention of the Court. If VPX is not willing to amend its
              interrogatory responses, please let us know which three days next week (other than Wednesday (10/9)) you are available for a telephonic
              conference with the Court.

              Regards,
              Sourabh




               Sourabh Mishra    ​




               ___________________________________
               HUESTON HENNIGAN LLP
               D: 949.356.5536
               smishra@hueston.com
               Biography


              From: Michael Kanach <mkanach@grsm.com>
              Sent: Tuesday, October 1, 2019 4:42 PM
              To: Sourabh Mishra <smishra@hueston.com>
              Cc: hheffner@grsm.com; Steven N. Feldman <sfeldman@hueston.com>; Michael Todisco <mtodisco@hueston.com>; tbranson@grsm.com;
              jmdoherty@grsm.com; sfrey@grsm.com
              Subject: RE: [Monster/VPX] Meet and Confer re Search Terms

              Hi Sourabh,

              First, I will start by saying that VPX is still considering your request that VPX amend its responses to provide further substantive responses – in
              addition to the substantive responses already provided.
              This email is intended to move the discussion forward.

              Second, Monster’s interrogatories are drafted as “if you contend” and I have not been able to locate any statements in this litigation or otherwise
              where VPX has made the contentions referred to in these interrogatories. Essentially, Monster is serving early contention interrogatories where
              VPX hasn’t even made those contentions; and VPX maintains its objections that this is not proper at this time and that they seek early expert
              testimony. To that end, I will note that Monster appears to be recognizing that these interrogatories are contention interrogatories and require
              expert testimony, regardless of how VPX responds.

              As mentioned above, however, VPX is still considering Monster’s meet and confer positions.
              To the extent Monster believes that VPX has made these contentions in the past, please advise so that VPX can consider these Interrogatories in
              context (or as you put it “VPX’s current knowledge” or “to the best of their knowledge“).
              Please point to the specific statements where you believe VPX has made those contentions (either by providing a link or an attachment, etc.).

              Third, I suspect the Court will likely ask which causes of action these contentions relate to, so please advise.
              I don’t see how these interrogatories are relevant to the remaining causes of action brought by Monster which were not dismissed.

              Fourth, it seems from your email that you are reframing your Interrogatory requests to seek information that the Interrogatories do not seek.
              Specifically, your email below references the amount of an ingredient, but that is not what the interrogatories ask for.

              We look forward to your response to #2 and #3 so VPX can continue to discuss the sufficiency of VPX’s responses to these interrogatories.


              Regards, -MIKE


              MICHAEL D. KANACH | Partner

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Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 34 of 89 Page ID
                                 #:3683
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              From: Sourabh Mishra <smishra@hueston.com>
              Sent: Sunday, September 29, 2019 6:52 PM
              To: Michael Kanach <mkanach@grsm.com>
              Cc: Holly Heffner <hheffner@grsm.com>; Steven N. Feldman <sfeldman@hueston.com>; Michael Todisco <mtodisco@hueston.com>; Timothy
              Branson <tbranson@grsm.com>; JoAnna Doherty <jmdoherty@grsm.com>; Sara Anderson Frey <sfrey@grsm.com>
              Subject: RE: [Monster/VPX] Meet and Confer re Search Terms

              Michael,

              Thank you for confirming that VPX intends to supplement its response to Interrogatory No. 6, the interrogatory concerning can stamps. We look
              forward to receiving that amended response soon.

              With respect to the interrogatories concerning the Super Creatine in BANG discussed in Monster’s Rule 37-1 letter, I believe we discussed each of
              the issues presented in your e-mail below during our September 23 meet and confer. To reiterate, Monster is permitted in discovery to
              understand what VPX’s current knowledge and positions are on these issues, regardless of who has the ultimate burden of proof at trial. See, e.g.
              Sony Corp. v. Vizio, Inc., 2009 WL 10675358, at *2 (C.D. Cal. Oct. 23, 2009) (“[T]he parties must respond fully and completely to all discovery
              requests to the best of their knowledge, based on the information they have to date.”). It would be very surprising if VPX did not have internal
              information about basic facts about the effect of the Super Creatine in BANG on humans when it has been selling BANG in this form for several
              years. Your current responses are insufficient because they do not provide that basic information requested by interrogatories served: for
              example, how does the amount of the Super Creatine in BANG affect body temperature, blood pressure, heart rate, and circulating creatine
              levels in the body?

              Again, Monster wants to resolve this issue as soon as possible. Please let us know by Tuesday, October 1 by 5pm PT if VPX intends to
              supplement its answers to Interrogatories 4, 7, and 8 to answer the queries posed by those interrogatories. If VPX does not intend to supplement
              its answer, we will e-mail Judge Kewalramani to set up a telephonic conference on this issue, and so please let us know by that same time if
              Wednesday (10/2), Thursday (10/3), and Friday (10/4) of this week do not work for you. (If any of those dates do not work, please offer alternate
              dates of availability.)

              Regards,
              Sourabh




               Sourabh Mishra   ​




               ___________________________________
               HUESTON HENNIGAN LLP
               D: 949.356.5536
               smishra@hueston.com
               Biography


              From: Michael Kanach <mkanach@grsm.com>
              Sent: Friday, September 27, 2019 4:06 PM
              To: Sourabh Mishra <smishra@hueston.com>
              Cc: hheffner@grsm.com; Steven N. Feldman <sfeldman@hueston.com>; Michael Todisco <mtodisco@hueston.com>; tbranson@grsm.com;
              jmdoherty@grsm.com; sfrey@grsm.com
              Subject: Re: [Monster/VPX] Meet and Confer re Search Terms

              Hi Sourabh,
              At this time, we are still in discussion with our client about Monster’s request that VPX consider amending the Interrogatories referenced in your
              letter. I understand VPX will supplement its response to at least one Interrogatory (#8 as to can stamps), but that supplemented response is not
              ready to serve today.

              To help assess your position, can you please provide Monster’s basis for why a non-expert opinion from a corporate defendant, VPX, is relevant
              to issues (legal contentions) for which the jury may rely on experts? I will note that Monster, who has not disputed that it has the burden, has
              not provided any initial expert or non-expert position for VPX to rebut.

              Can you please also explain why Plaintiff believes Defendants’ responses so far are not sufficient in response to those Interrogatories? Your email
              below misrepresents the actual responses (below you state “With respect to VPX’s positions relating to creatyl-L-leucine, you claim that it is a
              matter for expert discovery and that VPX will not offer a substantive position before expert discovery.”) Your email is not accurate. VPX has
              provided substantive responses. Please let us know why you believe those responses are not sufficient (other than because Monster seeks early
              expert disclosures).

              Regards, -MIKE



              On Sep 27, 2019, at 2:52 PM, Sourabh Mishra <smishra@hueston.com> wrote:

                    Michael,
Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 35 of 89 Page ID
                                 #:3684
                 Have you had a chance to check with your client about the parties’ dispute concerning VPX’s positions relating to creatyl-L-leucine
                 presented in Monster’s Rule 37-1 letter? If VPX does not anticipate changing its position on this issue, please send us three days
                 you are available for a telephonic conference with Judge Kewalramani. We are available next week on Wednesday, Thursday, and
                 Friday. We can also be available the week after, but we would like to settle this dispute as soon as possible.

                 Regards,
                 Sourabh




                  Sourabh Mishra   ​




                  ___________________________________
                  HUESTON HENNIGAN LLP
                  D: 949.356.5536
                  smishra@hueston.com
                  Biography


                 From: Michael Kanach <mkanach@grsm.com>
                 Sent: Tuesday, September 24, 2019 3:56 PM
                 To: Sourabh Mishra <smishra@hueston.com>
                 Cc: hheffner@grsm.com; Steven N. Feldman <sfeldman@hueston.com>; Michael Todisco <mtodisco@hueston.com>;
                 tbranson@grsm.com; jmdoherty@grsm.com; sfrey@grsm.com
                 Subject: RE: [Monster/VPX] Meet and Confer re Search Terms

                 Hi Sourabh,
                 We are looking into it.
                 We are also preparing a first set of document production, which will give us a better idea of timing.

                 (While this reply addresses your follow up email, I will note that this email does not attempt to correct differences in the summary
                 below – some of which we have already addressed separately.)

                 Regards, -MIKE


                 MICHAEL D. KANACH | Partner

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                 From: Sourabh Mishra <smishra@hueston.com>
                 Sent: Tuesday, September 24, 2019 3:52 PM
                 To: Michael Kanach <mkanach@grsm.com>
                 Cc: Holly Heffner <hheffner@grsm.com>; Steven N. Feldman <sfeldman@hueston.com>; Michael Todisco
                 <mtodisco@hueston.com>; Timothy Branson <tbranson@grsm.com>; JoAnna Doherty <jmdoherty@grsm.com>; Sara Anderson
                 Frey <sfrey@grsm.com>
                 Subject: RE: [Monster/VPX] Meet and Confer re Search Terms

                 Michael,

                 You had said that you would let us know by yesterday if next Tuesday, 10/1, is realistic for VPX’s first production of documents. Can
                 you please let us know?

                 Regards,
                 Sourabh




                  Sourabh Mishra   ​




                  ___________________________________
                  HUESTON HENNIGAN LLP
                  D: 949.356.5536
                  smishra@hueston.com
                  Biography


                 From: Sourabh Mishra <smishra@hueston.com>
                 Sent: Monday, September 23, 2019 6:08 PM
                 To: Michael Kanach <mkanach@grsm.com>
                 Cc: hheffner@grsm.com; Steven N. Feldman <sfeldman@hueston.com>; Michael Todisco <mtodisco@hueston.com>;
                 tbranson@grsm.com; jmdoherty@grsm.com; sfrey@grsm.com
                 Subject: RE: [Monster/VPX] Meet and Confer re Search Terms
Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 36 of 89 Page ID
                                 #:3685
                 Michael,

                 Thanks for speaking with us today. I’m sending this email to summarize our call to ensure that we’re on the same page moving
                 forward. Any time frames discussed on our call are bolded below.

                 Search Terms

                 Both parties have previously sent objections to certain search terms. We agreed that by this Wednesday, September 25, at 4 p.m.,
                 both parties will respond to the other side’s objections by, for example, withdrawing the search term, narrowing the search term, or
                 standing by the term as written.

                 Production Schedule

                 We discussed beginning rolling productions by next Tuesday, October 1, for those search terms that neither party objected to. You
                 stated that you would follow up with us today about whether your vendor would have issues meeting that schedule. You also
                 stated that certain non-ESI information might be ready for earlier production.

                 Production of Social Media Information

                 You stated that you would provide Monster with a list of VPX/Owoc social media accounts and document production related to
                 several of those accounts.

                 Third-Party Subpoenas

                      ·   Dr. Antonio: We stated that we have taken Dr. Antonio’s deposition off calendar and are likely to reschedule for October or
                          November.

                      ·   ISSN: We informed you that we had not yet heard from ISSN’s counsel. You requested that we provide proof of service,
                          which we will send separately.

                      ·   GNC & Vitamin Shoppe: You requested that we withdraw our document subpoenas to GNC and Vitamin Shoppe. We
                          declined. You then stated that you would send further objections in writing regarding your basis for a motion to quash.

                 You also expressed concern that our subpoenas seek privileged information. We clarified that we are seeking only non-privileged
                 documents and only require that the third parties produce a privilege log if they are withholding documents based on privilege
                 grounds, as is typical and required. You further stated that you would provide us information about Mr. Kesten’s potential
                 representation of Vitamin Shoppe so that we can consider your request to narrow our subpoena.

                 Your e-mail below mischaracterizes Monster’s positions, the parties’ ongoing meet and confers about search terms, and the
                 relevance of these third party documents. For example, your point below that the terms “GNC,” “Vitamin Shoppe,” and others are
                 directed toward litigation documents is misguided and incorrect. Indeed, as we mentioned on the call, the issue of why retailers are
                 choosing to stock BANG and what they believe differentiates BANG from other products is clearly relevant to this litigation. That
                 issue should not pose any “privilege” concerns.

                 You also requested proof of service for the ISSN, GNC, Vitamin Shoppe subpoenas. We will send those separately. With respect to
                 Dr. Antonio, as discussed, Dr. Antonio’s counsel accepted service of his subpoenas.

                 Monster Responses to RFPs 90-93

                 You had asked to meet and confer about VPX’s RFP requests relating to formulas. We agreed that Judge Kewalramani’s order on
                 VPX’s motion to compel Monster’s Reign formula will inform this dispute and that we would discuss those requests after he issues
                 his order.

                 You also asked to meet and confer regarding Monster’s M Claw trade dress. You stated that you would send us Rule 37-1 letter
                 describing your basis for requesting this information.

                 Monster’s Rule 37-1 Letter

                 We discussed Monster’s Rule 37-1 letter. You stated that you hadn’t had the chance to speak with your client yet about this
                 request.

                 With respect to VPX’s positions relating to creatyl-L-leucine, you claim that it is a matter for expert discovery and that VPX will not
                 offer a substantive position before expert discovery. With respect to the letters and numbers on the bottom of BANG can, we
                 discussed that Monster requires VPX to identify all iterations of the production facility code and what they correspond to; and to
                 disclose how the “best by” date relates to the production date of an individual can.

                 We will follow up this Friday, September 27 to see if you have had a chance to check with your client on these issues and/or if there
                 is any chance to resolve our disagreements.

                 **

                 Regards,
                 Sourabh




                  Sourabh Mishra   ​




                  ___________________________________
Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 37 of 89 Page ID
                                 #:3686

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                  smishra@hueston.com
                  Biography


                 From: Michael Kanach <mkanach@grsm.com>
                 Sent: Monday, September 23, 2019 3:29 PM
                 To: Sourabh Mishra <smishra@hueston.com>
                 Cc: hheffner@grsm.com; Steven N. Feldman <sfeldman@hueston.com>; Michael Todisco <mtodisco@hueston.com>;
                 tbranson@grsm.com; jmdoherty@grsm.com; sfrey@grsm.com
                 Subject: RE: [Monster/VPX] Meet and Confer re Search Terms

                 Sourabh and Steven,
                 As discussed on our meet and confer call today, below are the email search terms to which I said Defendants are specifically
                 objecting based on privilege, in addition to Thermolife.
                 These terms seem aimed specifically at litigation-related documents.

                    1.   GNC
                    2.   Vitamin Shoppe
                    3.   Thermolife
                    4.   Jose Antonio
                    5.   Catherine w/3 Davis (an attorney)

                 As discussed during today’s call, Defendants will provide further comments regarding the search terms VPX proposed to which
                 Monster objected – and that mutual exchange will take place on Wednesday at 4pm PST.

                 Privileged documents:
                 Mr. Feldman mentioned on today’s call that Monster was not specifically seeking the prior litigation documents from VPX relating to
                 GNC and Vitamin Shoppe. He said you were not aware of prior litigation involving Thermolife and Vitamin Shoppe where Marc
                 Kesten was counsel for Vitamin Shoppe. You asked us to provide proof. See US District Court case 0:16-cv-60691 in the Southern
                 District of Florida: WERTEKS CLOSED JOINT STOCK COMPANY d/b/a WERTEKS PHARMACEUTICAL COMPANY and THERMOLIFE
                 INTERNATIONAL, LLC v. VITAMIN SHOPPE, INC., and VITAL PHARMACEUTICALS, INC. d/b/a VPX. The docket is clear in that case that
                 Mr. Kesten made an appearance on behalf of Vitamin Shoppe in November 2016, and that case is currently on appeal. GNC was
                 likewise sued by Werteks and Thermolife.

                 Mr. Feldman mentioned that Monster was not seeking privileged documents from GNC or Vitamin Shoppe, however, he also said
                 that Monster would not specifically narrow the requests to obviate the need for review and production of a privilege log. We
                 request that you reconsider your position.

                 With respect to Vitamin Shoppe, GNC, and Jose Antonio, we expect Monster will continue to meet and confer as to search terms
                 (i.e., Monster will propose narrower terms instead of withdrawing those search terms). We suspect the parties’ efforts to further
                 meet and confer as to those terms may obviate the need for Monster’s subpoenas to those third parties (specifically GNC, Vitamin
                 Shoppe, and Jose Antonio) seeking duplicative information and documents. Until then, Defendants continue to object to Monster’s
                 subpoenas to those third parties for the reasons raised in Defendants’ written objections including those based on privilege,
                 harassment, and proportionality, to name a few.

                 We understand from today’s call that Monster is not willing to either withdraw those subpoenas or amend the scope of the broad
                 document requests. We also note you represented during today’s call that those subpoenas to GNC and Vitamin Shoppe were
                 broader than the document requests you sent to VPX. And you used that as a basis for seeking documents from the third parties
                 instead of from VPX. That is not proper and appears to be in contrast to the Stipulated ESI Order (ECF 126) where the parties
                 agreed to work together to limit discovery to relevant documents, custodians, and search terms. Now, instead, Monster is using
                 subpoenas as an “end run” around the ESI order.

                 Again, Defendants raise our objections related to proportionality and harassment of these third parties, including VPX’s customers,
                 and ask that Monster withdraw these subpoenas to GNC and Vitamin Shoppe.

                 As requested on today’s call, please provide us with proof of service of the subpoena and witness fees to GNC, Vitamin Shoppe, Jose
                 Antonio, and ISSN.


                 Regards, -MIKE


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                 From: Michael Kanach <mkanach@grsm.com>
                 Sent: Friday, August 30, 2019 10:10 AM
Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 38 of 89 Page ID
                                 #:3687
                 To: Sourabh Mishra <smishra@hueston.com>
                 Cc: Holly Heffner <hheffner@grsm.com>; Steven N. Feldman <sfeldman@hueston.com>; Michael Todisco
                 <mtodisco@hueston.com>; Timothy Branson <tbranson@grsm.com>
                 Subject: RE: [Monster/VPX] Meet and Confer re Search Terms

                 Sourabh,

                 Here are the remaining terms. We think this is everything Monster proposed.
                 We apologize for the fact that our vendor missed these terms and given the number of terms we did not realize this earlier.

                 Objections Based on Relevance, Overbroad, Number of Hits, and Proportionality, and further objections referenced in the chart
                 below:



                 MONS* OR MNST OR Sacks OR Hilton OR Schlosberg
                 Creat* - over 300,000 hits, overbroad, relevance. Note: VPX has agreed to review other more
                 narrow terms which contain this “creat” prefix with other terms.
                 (SUPER w/3 CREATINE) OR "creatyl-l-leucine" OR (creatyl w/3 leucine) OR supercreatine OR "Super
                 Creatine" – overbroad
                 (stud* OR test* OR Scien*) w/50 (sponsor* OR fund* OR pay* OR paid OR promot* OR support*) –
                 overbroad, relevance, seeks publicly available information about what public studies VPX
                 sponsored/promoted/supported, etc.
                 (shelf w/3 space) OR (retail w/3 space) OR ((place* OR arrang*) w/10 BANG) OR (retail w/50 (shelf
                 OR cooler)) – overbroad, relevance.
                 contract w/50 (retail* OR distrib* OR store*) – over 75,000 hits, overbroad, relevance, seeks
                 proprietary business information unrelated to this case.



                 Regards, -MIKE


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                        From: Michael Kanach <mkanach@grsm.com>
                        Sent: Thursday, August 29, 2019 12:28 PM
                        To: Sourabh Mishra <smishra@hueston.com>
                        Cc: Holly Heffner <hheffner@grsm.com>; Steven N. Feldman <sfeldman@hueston.com>; Michael Todisco
                        <mtodisco@hueston.com>; Timothy Branson <tbranson@grsm.com>
                        Subject: Re: [Monster/VPX] Meet and Confer re Search Terms

                        Sourabh,
                        In reviewing previous emails today between counsel, and comparing to the list of objections we sent to you last night, we
                        just realized our vendor did not provide us with hit information for all of the search terms you provided to us. This was not
                        intentional. And we are looking into it. However, more importantly, we have requested the hit reports again.

                        We will follow up with further information once we receive it from our vendor and have an opportunity to review.

                        Regards, -MIKE


                        Sent from my iPhone

                        On Aug 28, 2019, at 11:59 PM, Michael Kanach <mkanach@grsm.com> wrote:

                               Hi Sourabh,
                               Thanks for your email. The email below is on behalf of Owoc and VPX, even where it just refers to VPX.

                               I will begin by saying we are still reviewing some of these objections and non-objectionable terms with our
                               vendor to try to determine proposed ways to make some of these search terms more manageable (either by
                               reducing the number and/or by targeting to documents that are more likely to be relevant and responsive),
                               and to determine if there are any further bases for objections.

                               Below are terms to which we do not currently object based on the search terms by themselves, followed by
                               objections and some proposed solutions (some of which we discussed on our call yesterday).
                               We are working with our vendor to determine the burden of this review set based on quantity of direct hits
                               and families and unique hits, so we can determine if we have any further objections or solutions, including
                               limiting searches to date ranges or specific custodians. Likewise, we also reserve the right to continue to meet
Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 39 of 89 Page ID
                                 #:3688
                       and confer after review begins if additional burdens or proportionality concerns arise, including related to
                       redactions (e.g., formulas). Defendants do not waive any objections raised in their responses to requests for
                       documents, including as to responsiveness, relevance, proportionality, privileged, and the other objections
                       raised.

                       We also have a list below of search terms to which we object based on relevance and we seek Monster’s
                       position as to why they are relevant to Monster’s claims or VPX’s defenses in this case. We also object to one
                       term based on privilege and we object with respect to Marc Kesten who is in house counsel with respect to
                       privilege.

                       No current objections to these terms:
                          1. BANG w/50 creatinine
                          2. BANG w/50 influenc*
                          3. GRAS AND ((SUPER w/3 CREATINE) OR creatyl-l-
                             leucine OR (creatyl w/3 leucine) OR creat*)
                          4. Recruit* w/50 pric*
                          5. GRAS AND creat*
                          6. BANG AND psychomot*
                          7. BANG AND (blood w/50 brain w/50 barrier)
                          8. BANG AND depress*
                          9. BANG AND "cell swell"
                        10. BANG AND (water w/50 retention)
                        11. BANG AND cogniti*
                        12. BANG AND (attention w/50 span)
                        13. BANG AND neuroprotec*
                        14. BANG AND "antioxidant"
                        15. BANG AND (creat* w/50 transport w/50 deficiency
                             w/50 syndrome)
                        16. BANG AND artificial
                        17. REIGN w/50 (trademark OR first OR rip-off OR ripoff)
                        18. Vigorous w/3 train* w/3 program
                        19. Patent w/50 BANG
                        20. 466 w/3 patent
                        21. Owoc w/50 inventor
                        22. ISSN
                        23. (sports w/3 nutrition w/3 society)
                        24. Kalman
                        25. "Ziegenfuss Rawson"
                        26. Schwartz
                        27. BANG AND ("UCLA")
                        28. BANG AND ("Florida State")
                        29. BANG AND ("Baylor")
                        30. BANG AND ("Southern Maine")
                        31. BANG AND (Nova)



                       Search Terms that Must be Narrowed

                       Objections with Proposed Solutions:
                       Below are some objections we have as to relevance, number of hits and proportionality, and proposed
                       potential solutions that we are looking into.
                       Some of these solutions we discussed during the call on August 27, 2019. We need to continue discussions
                       with our vendor to see if these proposals make a difference and how much of a difference they make with
                       respect to narrowing. We will need to follow up with you after we receive further information.



                       Objectionable Term                                  Proposed Solution
                          1. Jose OR Antonio OR ISSN OR (sports w/3          As discussed on our call August 27 call, we are working with our
                             nutrition w/3 society) OR Kalman OR             vendor to determine whether “Jose /3 Antonio” remains
                             "Ziegenfuss Rawson" OR Schwartz                 objectionable. Monster proposed that narrower term.
                                                                             As set forth in the chart above, VPX removed objections to the
                                                                             remaining terms: OR ISSN OR (sports w/3 nutrition w/3 society) OR
                                                                             Kalman OR "Ziegenfuss Rawson" OR Schwartz
                                                                             Over 100,000 hits
                          2. BANG w/50 (Insta* OR Faceb* OR FB OR IG         As discussed on our call August 27 call, we are working with our
                             OR Twit* OR Yout* OR (social w/3 media))        vendor to determine whether full spelling of the names of these
                                                                             social media companies (Instagram, Facebook, Twitter, and Youtube)
                                                                             to replace these shorthand references remains objectionable.
                                                                             Monster appeared willing to agree to those narrower terms.
                                                                             Over 100,000 hits
                          3. REIGN OR (Royalt* w/5 nutrit*)                  We are working with our vendor to determine whether “REIGN AND
                                                                             (Royalty* w/5 nutrit*)” remains objectionable. This potential
                                                                             proposal was not discussed during our call.
                          4. BANG AND ("UCLA" OR "Florida State" OR          As discussed on our call August 27 call, we are working with our
                             "Baylor" OR "Southern Maine" OR "Tampa"         vendor to determine whether adding the word “University” to the
                             OR "Pittsburgh" OR "Memphis" OR Nova)           terms (1) Tampa, (2) Pittsburgh, and (3) Memphis remains
                                                                             objectionable. Monster appeared willing to agree to those narrower
Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 40 of 89 Page ID
                                 #:3689
                                                                               terms.
                                                                               As set forth in the chart above, VPX removed objections to the
                                                                               remaining terms: BANG AND ("UCLA" OR "Florida State" OR "Baylor"
                                                                               OR "Southern Maine" OR Nova)
                          5. Nova OR (Southeast* w/5 (univ* OR coll*           We are working with our vendor to determine whether adding BANG
                             OR Florid*)) OR NSU                               to this search term remains objectionable. This potential proposal
                                                                               was not discussed during our call.
                                                                               However, we did discuss the BANG AND NOVA term, discussed above
                                                                               (#4 of this section).

                       Objections Based on Relevance, Overbroad, Number of Hits, and Proportionality, and further objections
                       referenced in the chart below:


                          1. Anheuser OR Busch OR Anheuser-Busch OR "AB" –
                             third party
                          2. Stephen w/3 Cohen
                          3. Laitinen OR McMahon – custodians, overbroad
                          4. GNC OR (Vita* w/3 Shop*) – third parties, over
                             75,000 hits
                          5. Owoc w/50 (author OR write* OR book OR article OR
                             journal*) – custodians, overbroad
                          6. Sponsor* w/50 BANG
                          7. BANG w/50 (market* OR advert*) – over 200,000 hits
                          8. BANG w/50 dev* -- redaction concerns relating to
                             formula
                          9. ("Red Bull" OR "RB") AND (recruit* OR pric*) – third
                             parties
                         10. BANG AND ("health" OR phys*)
                         11. Consum* AND compl* -- over 75,000 hits
                         12. FTC OR "Federal Trade" OR NAD OR (National w/2
                             advertising w/2 division) – third parties
                         13. BANG w/50 (design OR packag* OR formu*) --
                             redaction concerns relating to formula, over 100,000
                             hits
                         14. Financ* OR sales or "market share" OR profit OR
                             (annual w/5 report) OR volum* -- over 600,000 hits
                         15. FDA OR "Food and Drug" OR "Food & Drug" – third
                             party
                         16. BANG AND ("I.Q." OR IQ)
                         17. BANG AND CoQ* -- redaction concerns relating to
                             formula
                         18. BANG AND BCA* -- redaction concerns relating to
                             formula
                         19. BANG AND (branch* w/50 chain* w/50 amino* w/50
                             acid*) -- redaction concerns relating to formula
                         20. BANG AND Alzheimer*



                       In addition to the objections above based on number of hits and proportionality, VPX is objecting to the
                       following terms based on relevance, and it is VPX’s position that these are no basis for these searches and
                       review would be harrassing.

                         21.   Calif*
                         22.   RX w/50 (pharm* OR (drug w/3 co*) OR prescript*)
                         23.   Lobby* w/50 (diet* OR drink* OR energ*)
                         24.   "high school" w/50 science
                         25.   Catherine w/3 Davis
                         26.   BANG AND IFG-1
                         27.   Pixie OR pixiedust* OR (Pix* w/3 dust*)
                         28.   BANG AND Sarco*
                         29.   BANG AND "satellite cell"
                         30.   BANG AND retard*
                         31.   Thermo*



                       Objections: Privilege:
                       In addition to those objections previously raised, VPX further objects to this term as seeking privileged
                       information about other litigation with Thermolife.

                          1. Thermo*



                       Regards, -MIKE
Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 41 of 89 Page ID
                                 #:3690
                          MICHAEL D. KANACH | Partner

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                          From: Sourabh Mishra <smishra@hueston.com>
                          Sent: Wednesday, August 28, 2019 12:32 PM
                          To: Michael Kanach <mkanach@grsm.com>
                          Cc: Holly Heffner <hheffner@grsm.com>; Steven N. Feldman <sfeldman@hueston.com>; Michael
                          Todisco <mtodisco@hueston.com>
                          Subject: [Monster/VPX] Meet and Confer re Search Terms

                          Michael,

                          As discussed yesterday, please find below: (1) the proposed search terms Monster is not objecting to
                          reviewing (production is of course subject to Monster’s stated objections in its RFP responses); (2) the
                          proposed search terms that have a substantial number of hits or a large number of likely irrelevant
                          hits, and so Monster requests that VPX narrow each search term; and (3) the proposed search terms
                          that clearly touch upon privileged matters and thus are not properly asserted.

                          Please promptly send us your corresponding list. We are happy to meet and confer as soon as possible
                          to attempt to resolve disagreements and agree upon a production schedule.

                              (1) Agreed-Upon Search Terms

                                Search Term
                                 !Glutamine
                                   !Leucine
                                    $500M
                                08-cv-01545
                                  8,445,466
                                    BANG!
                                    BCAA!
                                    CoQ10
                                   Creatin!
                                   Creatyl!
                           Good will OR Goodwill
                                 Influencer!
                                   Laitinen
                               Market share
                                  McMahon
                              Owoc! Or Owok!
                          Planogram & (BANG or
                             Mon! or MNST or
                                    Reign)
                          Shel! or cooler or retail!
                             /s (space or steal)
                                     Vital!
                                     VPX!

                              (2) Search Terms that Must be Narrowed

                                Search Term                     Objection
                          Adverse NEAR/5 affects or        Almost 300,000 results
                              effects or events
                                Agreement!                 Almost 200,000 results
                             Body NEAR/5 Fuel               Over 100,000 results
                                  Caffeine                Search term is overbroad
                                  Contract!                Almost 200,000 results
                                     FDA                  Search term is overbroad
                          Hanson OR HBC w/5 Vital          Almost 500,000 results
                                   OR VPX
                           Heart NEAR/5 attack or         Search term is overbroad
                                 arrhythmia
                          Monster NEAR/5 benefit!          Over 1.3 million results
                          Monster NEAR/5 health!          Almost 1.8 million results
                                   Patent!                Search term is overbroad
                           Personal NEAR/5 injury          Almost 500,000 results
Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 42 of 89 Page ID
                                 #:3691
                                        Pric! /3 Mon! or MNST or                     Over 2.0 million results
                                              BANG or Reign
                                          Pricing NEAR/3 model                      Almost 300,000 results
                                                   Reign                           Search term is overbroad
                                                 Sponsor!                            Over 100,000 results
                                       Test or Tests or Testing                      Over 100,000 results
                                         Wrongful NEAR/5 death                     Search term is overbroad

                                             (3) Search Terms that Clearly Request Privileged Information

                                               Miles & Redline
                                               Shook & Redline

                                       Regards,
                                       Sourabh




                                          Sourabh Mishra        ​




                                          ___________________________________
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Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 43 of 89 Page ID
                                 #:3692




           EXHIBIT 5
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 44 of 89 Page ID
                                                                      #:3693


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                                       9   Fax: (619) 696-7124
                                      10   Attorneys for Defendants
                                           VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS, A FLORIDA
                                      11   CORPORATION; AND JOHN H. OWOC A.K.A. JACK OWOC, AN
Gordon Rees Scully Mansukhani, LLP




                                           INDIVIDUAL
   101 West Broadway, Suite 2000




                                      12
       San Diego, CA 92101




                                      13                      UNITED STATES DISTRICT COURT
                                      14                     CENTRAL DISTRICT OF CALIFORNIA
                                      15
                                      16   MONSTER ENERGY COMPANY, a                CASE NO.: 18-cv-1882-JGB-SHK
                                           Delaware corporation,
                                      17                                        DEFENDANT VITAL
                                                                   Plaintiff,   PHARMACEUTICALS, INC.,
                                      18                                        D/B/A VPX SPORTS’
                                                 vs.                            SUPPLEMENTAL RESPONSE TO
                                      19                                        PLAINTIFF MONSTER ENERGY
                                           VITAL PHARMACEUTICALS, INC., COMPANY’S SPECIAL
                                      20   d/b/a VPX SPORTS, a Florida          INTERROGATORIES, SETS ONE
                                           corporation; and JOHN H. OWOC a.k.a. AND TWO
                                      21   JACK OWOC, an individual,
                                                                                Dist. Judge: Hon. Jesus G. Bernal
                                      22                          Defendants.   Mag. Judge: Hon. Shashi H.
                                                                                Kewalramani
                                      23
                                      24
                                      25   PROPOUNDING PARTY:             Plaintiff, MONSTER ENERGY COMPANY
                                      26   RESPONDING PARTY:              Defendant, VITAL PHARMACEUTICALS INC.,
                                      27                                  D/B/A VPX SPROTS
                                      28   SET NO.:                       ONE and TWO (Supplemental)
                                                                                   -1-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 45 of 89 Page ID
                                                                      #:3694


                                       1
                                       2
                                       3         Defendant VITAL PHARMACEUTICALS, INC., d/b/a VPX SPORTS
                                       4   (“Responding Party”) provides the following SUPPLEMENTAL responses to the
                                       5   Special Interrogatories, Sets ONE AND TWO, of Plaintiff MONSTER ENERGY
                                       6   COMPANY (“Propounding Party”), specifically Nos. 4, 6, 7, and 8, as follows:
                                       7         1.     These Interrogatories seek all documents and communications,
                                       8   including electronically stored information (“ESI”). The parties have begun to
                                       9   meet and confer to establish ESI/document production protocols, identify
                                      10   custodians, and propose search terms and date ranges. To facilitate this process,
                                      11   the parties have agreed to exchanged names of potential custodians on June 25,
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                                      12   2019, along with dates of employment and a brief statement as to relevance;
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                                      13   proposed search terms and date ranges on July 2, 2019; and have continued their
                                      14   meet and confer efforts through and including October 23, 2019. VPX has agreed
                                      15   to review more than 30 search terms for emails and attachments for more than a
                                      16   dozen custodians including current and former employees, including Dr. Liangxi
                                      17   Li, John Owoc, Paul Borrelli, Gene Bukovi, Meg Owoc, and Marc Kesten. VPX
                                      18   has been reviewing the documents with the agreed-to search terms, has begun to
                                      19   produce documents, has additional documents to be produced and has more in
                                      20   quality control review prior to production, and will continue to review and produce
                                      21   documents. The parties have agreed to continue their discussion regarding
                                      22   narrowing, scope, and burden. Responding Party reserves the right to further
                                      23   object to Interrogatories that are unduly burdensome or harassing or otherwise
                                      24   objectionable as discovery continues.
                                      25         2.     Discovery is ongoing. Responding Party’s responses to these
                                      26   Interrogatories are made to the best of its present knowledge, information, and
                                      27   belief. Said responses are at all times subject to additional or different information
                                      28   that discovery or further investigation may disclose and, while based on the present
                                                                                   -2-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 46 of 89 Page ID
                                                                      #:3695


                                       1   state of Responding Party’s recollection, are subject to refreshing of such
                                       2   recollection with such additional knowledge or facts that may result from further
                                       3   discovery or investigation. Responding Party reserves the right to make any use
                                       4   of, or to introduce at any hearing and at trial, information responsive to these
                                       5   Interrogatories that is discovered subsequent to the date of these responses,
                                       6   including, but not limited to, any information obtained and discovered herein.
                                       7         3.     Responding Party reserves all objections or other questions as to the
                                       8   confidentiality, relevance, materiality, privilege, or admissibility as evidence, in
                                       9   any subsequent proceeding or trial of this or any other action for any purpose
                                      10   whatsoever, of these responses and any documents or things identified in these
                                      11   responses.
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                                      12         4      Responding Party reserves the right to object on any ground at any
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                                      13   time to such other or supplemental discovery as Propounding Party may propound
                                      14   involving or relating to the subject matter of these Interrogatories.
                                      15         5.     Responding Party objects to the extent these Interrogatories seek
                                      16   information protected by the attorney-client privilege and/or attorney work product
                                      17   privilege and/or other applicable privileged or protection. Such information shall
                                      18   not be provided in response. Any inadvertent disclosure thereof shall not be
                                      19   deemed a waiver.
                                      20         6.     Responding Party objects to the extent these Interrogatories seek to
                                      21   require Responding Party to identify persons, entities, or events not known on the
                                      22   grounds that such instructions, definitions, or Interrogatories are overbroad and
                                      23   seek to require more of Responding Party than any obligation imposed by law,
                                      24   subject Responding Party to unreasonable and undue annoyance, oppression,
                                      25   burden, and expense, and seek to impose upon Responding Party an obligation to
                                      26   investigate and discover information and materials from third parties or sources
                                      27   that are equally accessible to Propounding Party such as, for example and without
                                      28   limitation, research, articles, press releases, blogs, social media posts or comments,
                                                                                   -3-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 47 of 89 Page ID
                                                                      #:3696


                                       1   product reviews, and publicly available websites.
                                       2         7.     Responding Party objects to the definition of “BANG” as vague,
                                       3   ambiguous, overbroad, and harassing. Propounding Party defines BANG in these
                                       4   Interrogatories as “the Bang Energy line of energy drink products.” Yet,
                                       5   Propounding Party’s First Amended Complaint (ECF 61, “FAC”) defines “BANG”
                                       6   both more broadly and more narrowly than as defined in the Interrogatories.
                                       7   Paragraphs 44, 56, 68, for example, explicitly limit Propounding Party’s claims to
                                       8   products with certain images of products and certain words on the package, such as
                                       9   those cans that contain the words “Super Creatine” (e.g., Paragraph 44; see also,
                                      10   Paragraphs 3, 4, 45-56), or containing United States Patent Number 8,445,466
                                      11   (e.g., Paragraphs 60-62, 68), or containing certain advertised ingredients on the
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                                      12   label (e.g., Paragraph 56: “Each can of BANG states: ‘Power up with BANG’s
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                                      13   potent brain & body-rocking fuel: Creatine, Caffeine, CoQ10 & BCAAs.’”; see
                                      14   also, Paragraph 84). Propounding Party further uses an inconsistently broad
                                      15   definition in footnote 1 of the FAC:
                                      16
                                                 VPX began selling BANG to consumers in 2012. VPX currently
                                      17         produces and sells over a dozen flavors of BANG, including caffeine-
                                      18         free flavors.
                                                 Accordingly, for all Interrogatories that seek documents or communications
                                      19
                                           related to BANG®, Responding Party requests a time to meet and confer to
                                      20
                                           consistently define and narrow the Request.
                                      21
                                                 Monster’s Requests for Admission set one, dated October 1, 2019, defined
                                      22
                                           the scope of relevant products to a specific list of products, “the Bang Energy line
                                      23
                                           of ready-to-drink 16 oz. energy drink products…,” and excluded from the
                                      24
                                           definition other products as follows: “BANG does not include ‘Bang Keto Coffee,’
                                      25
                                           ‘Bang Master Blaster,’ ‘Bang Shots,’ ‘Bang ThermIQ,’ formulations of Bang
                                      26
                                           produced for consumption outside of the United States, or any other Bang-branded
                                      27
                                           product materially different from the line of products featured in the above
                                      28
                                                                                   -4-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 48 of 89 Page ID
                                                                      #:3697


                                       1   photograph.”
                                       2         8.     Responding Party further objects to the definition of “SUPER
                                       3   CREATINE” as “the ‘stable aqueous compositions comprising amide-protected
                                       4   creatine species’ identified in the ’466 PATENT” from Propounding Party’s first
                                       5   set of Interrogatories as vague and ambiguous and not consistent with Propounding
                                       6   Party’s use of the term in the FAC (e.g., Paragraph 44; see also, Paragraphs 3, 4,
                                       7   45-56). Responding Party further objects that the term SUPER CREATINE is
                                       8   referenced in this second set of Interrogatories, but not defined.
                                       9         9.     Responding Party further objects to the definition of “VITALS” as
                                      10   vague and ambiguous. Propounding Party defines “VITALS” as “includes body
                                      11   temperature, blood pressure, heart rate, and respiratory rate.” Responding Party
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                                      12   objects to the word “includes” in the definition as ambiguously broad and
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                                      13   undefined as to scope. It is unclear what is and is not included in the definition for
                                      14   VITALS as defined by Propounding Party. See Interrogatory No. 7.
                                      15         10.    Responding Party further objects to the definition of
                                      16   “SUBSTANCES” as vague and ambiguous. Propounding Party defines
                                      17   “SUBSTANCES” as “all substances naturally produced by the human body,
                                      18   including creatine and creatinine.” Responding Party objects to the phrases “all
                                      19   substances” and “including” as ambiguously broad and undefined as to scope. It is
                                      20   unclear what is and is not included in the definition for SUBSTANCES as defined
                                      21   by Propounding Party, and it is unclear if the specific substances, such as creatine
                                      22   or creatinine, that are naturally produced by the human body are included or not
                                      23   within the Interrogatory as the term is used. See Interrogatory No. 7.
                                      24                                SPECIFIC RESPONSES
                                      25                         TO SPECIAL INTERROGATORIES
                                      26         Without waiving or rebutting in any manner any of the foregoing general
                                      27   objections, but rather incorporating them into each of the following responses to
                                      28   the extent applicable, Responding Party responds to Propounding Party’s special
                                                                                   -5-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 49 of 89 Page ID
                                                                      #:3698


                                       1   interrogatories as follows:
                                       2                 RESPONSES TO SPECIAL INTERROGATORIES
                                       3   SPECIAL INTERROGATORY NO. 1:
                                       4         State the formula for YOUR BANG energy drink, including the amount
                                       5   used of each ingredient. To the extent the formula is different for each flavor of
                                       6   BANG, state the formula for each flavor.
                                       7   RESPONSE TO INTERROGATORY NO. 1:
                                       8         Responding Party objects to this Interrogatory to the extent it seeks
                                       9   privileged attorney client communications or work product. Responding Party
                                      10   further objects to this Interrogatory on the basis that it seeks information that is
                                      11   confidential and proprietary in nature and, as such, will not be produced until a
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                                      12   Protective Order is in place. Responding Party objects to this Interrogatory as
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                                      13   seeking proprietary information regarding trade secrets, including ingredients,
                                      14   recipes, formulations, formulae, which would be extremely detrimental to
                                      15   Defendant if disseminated or distributed publicly or if provided to Responding
                                      16   Party’s competitors or potential competitors. Responding Party further objects to
                                      17   this Interrogatory as vague as to scope and time and seeking irrelevant information
                                      18   and documents. Responding Party further objects to this Interrogatory as unduly
                                      19   burdensome, harassing, and not proportional to the needs of this case under Rule
                                      20   26(b)(1). Responding Party objects to this Interrogatory as vague and ambiguous
                                      21   as to the scope and time. Responding Party objects to the definition of “BANG” as
                                      22   vague, ambiguous, overbroad, and harassing. Defendant objects to this
                                      23   Interrogatory as vague and ambiguous with respect to the undefined terms
                                      24   “formula,” “amount,” “ingredient,” and “flavor.” Responding Party further objects
                                      25   to this Interrogatory to the extent this Interrogatory seeks information subject to
                                      26   expert analysis or opinion. To the extent information will be analyzed by an
                                      27   expert, such information may be provided in an expert’s report as set forth
                                      28   according to the Court’s schedule. Further, this Interrogatory appears to be
                                                                                   -6-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 50 of 89 Page ID
                                                                      #:3699


                                       1   duplicative of document requests, including specifically request no. 4 which seeks
                                       2   “All DOCUMENTS and COMMUNICATIONS relating to YOUR studies,
                                       3   research, and tests of BANG products, including but not limited to:
                                       4         a.      The amount of creatine in BANG products;
                                       5         b.      The amount of SUPER CREATINE in BANG products;
                                       6         c.      The amount of creatine in SUPER CREATINE;
                                       7         d.      The incremental effect of including additional SUPER CREATINE in
                                       8                 BANG products;
                                       9         e.      The contents of BANG products;
                                      10         f.      Comparisons between BANG products and products manufactured or
                                      11                 sold by MONSTER;
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                                      12         g.      The health impacts of creatyl-L-leucine; and
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                                      13         h.      Discussions or analyses relating to creatinine.”
                                      14         Further, this Interrogatory is duplicative of request no. 50 which seeks “All
                                      15   DOCUMENTS and COMMUNICATIONS relating to the formulation or changes
                                      16   to the formulation of BANG products.” Responding Party incorporates by
                                      17   reference all objections made in response to Request for Documents, including but
                                      18   not limited to Nos. 4 and 50.
                                      19         Subject to the foregoing general and specific objections, Defendant responds
                                      20   as follows:
                                      21         It is undisputed that certain BANG products contain a form of creatine
                                      22   called Super Creatine, or creatyl-L-leucine, which combines creatine and an amino
                                      23   acid L-leucine, as alleged by Monster and allegedly proven by tests performed by
                                      24   Monster’s expert, Dr. Neil Spingarn. Creatyl-L-leucine in certain BANG products
                                      25   is branded under the trademark SUPER CREATINE. Responding Party also
                                      26   incorporates by reference the declaration by Dr. Li in support of Defendants’
                                      27   Opposition to Monster’s Motion for a Preliminary Injunction (ECF 100 and
                                      28   exhibits 100-1 through 100-3). Responding Party will not produce its proprietary
                                                                                   -7-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 51 of 89 Page ID
                                                                      #:3700


                                       1   and trade secret formulas to a competitor, Monster, who just introduced a knock-
                                       2   out drink, REIGN, to compete against Responding Party’s BANG® energy drink.
                                       3   Responding Party may supplement this response to provide certain, redacted
                                       4   information sought by this Interrogatory that is relevant to the question of Creatyl-
                                       5   L-Leucine in certain BANG® drinks, but Responding Party will not produce its
                                       6   proprietary formulas and lists of amounts for all ingredients in all BANG® drinks.
                                       7   Responding Party further objects to the extent the relevant information sought by
                                       8   this Interrogatory is duplicative of other Interrogatories (e.g., No. 2) and requests
                                       9   for production of documents. Pursuant to Federal Rule of Civil Procedure 33(d),
                                      10   Defendant reserves the right to produce business records in this action from which
                                      11   the answer to the reasonable scope of this Interrogatory may be ascertained. The
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                                      12   answer to this Interrogatory may be determined by examining, auditing, compiling,
       San Diego, CA 92101




                                      13   abstracting, or summarizing Responding Party business records (including
                                      14   electronically stored information), and the burden of deriving or ascertaining the
                                      15   answer will be substantially the same for either party. Responding Party will meet
                                      16   and confer with Propounding Party to narrow the scope of this Request so that the
                                      17   non-privileged information in Responding Party’s possession, custody, or control
                                      18   sufficient to respond to this Request is proportionate to the needs of this case and
                                      19   will be produced subject to a Protective Order. Specifically, Responding Party will
                                      20   continue to meet and confer with Propounding Party regarding ESI protocols,
                                      21   custodians, search terms, and date ranges.
                                      22   SUPPLEMENTAL RESPONSE TO SPECIAL INTERROGATORY NO. 1:
                                      23         VPX maintains the foregoing and previously asserted general and special
                                      24   objections and supplements its response in light of meet and confer efforts to
                                      25   resolve the discovery dispute between the parties, as follows:
                                      26         Statements that BANG contains creatine are true statements. Plaintiff
                                      27   moved to compel further response to this Interrogatory No. 1, and VPX has agreed
                                      28   to disclose the quantity of that ingredient as well as caffeine. In order to resolve
                                                                                   -8-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 52 of 89 Page ID
                                                                      #:3701


                                       1   discovery disputes during the discovery process in this case, VPX has disclosed
                                       2   through meet and confer efforts that the quantity of creatyl-l-leucine in a can of
                                       3   BANG® ready to drink cans of BANG® energy drinks with the reference to
                                       4   SUPER CREATINE® is less than 40 mg and caffeine is 300 mg. VPX maintains
                                       5   that its formula and the quantity of creatyl-l-leucine is proprietary and a valuable
                                       6   trade secret which Monster seeks for competitive reasons because VPX’s BANG
                                       7   product is so successful that Monster introduced an almost identical product called
                                       8   REIGN with almost identical packaging, formula, and branding, which specifically
                                       9   targets and is directed to VPX’s customers. VPX discloses the amount of caffeine
                                      10   on the can label, which Monster recently copied in its knock-off REIGN product
                                      11   which also has 300 mg of caffeine. VPX maintains its objections to the formula
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                                      12   being unnecessary as stated in VPX’s motions and objections filed with the Court
       San Diego, CA 92101




                                      13   which objections are incorporated herein.
                                      14         As stated in response to Interrogatory No. 2, creatyl-l-leucine is a bond of
                                      15   creatine and leucine. It is undisputed that many forms of creatine exist in the
                                      16   marketplace, including formulations combining creatine with amino acids. It is
                                      17   also undisputed that certain BANG products contain a form of creatine called
                                      18   creatyl-L-leucine, which combines creatine with the amino acid L-leucine, as
                                      19   alleged by Monster and allegedly proven by tests performed by Monster’s expert,
                                      20   Dr. Neil Spingarn. Creatyl-L-leucine in certain BANG products is branded under
                                      21   the trademark SUPER CREATINE.
                                      22         See also Court order denying Monster’s Motion for a Preliminary Injunction
                                      23   and related briefing, including those citations in the Order, excerpted below:
                                      24
                                                 It appears, however, that Monster’s claims rely on an overly narrow
                                      25         understanding of the word “creatine,” since, as discussed in their own
                                      26         evidentiary submissions, “[m]any forms of creatine exist in the
                                                 marketplace,” including formulations combining creatine with other
                                      27         amino acids. Thomas W. Buford, et al., International Society of Sports
                                      28         Nutrition position stand: creatine supplementation and exercise, J. Int.
                                                                                   -9-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 53 of 89 Page ID
                                                                      #:3702


                                       1         Soc. Sports. Nutr., Aug. 2007; see also Robert Cooper, et al., Creatine
                                       2         supplementation with specific view to exercise/sports performance: an
                                                 update, J. Int. Soc. Sports. Nutr., July 2012. The parties agree that
                                       3         “Super Creatine” is a dipeptide – a chemical composed of two amino
                                       4         acids – which consists of the amino acids creatine and L-leucine.
                                                 (“Declaration of Dr. Liangxi Li,” Dkt. No. 100 ¶ 24; Spingarn Decl. ¶
                                       5         13.) Defendants have submitted the declaration of Dr. Liangxi Li,
                                       6         Research & Development Manager at VPX, which details the many
                                                 forms of creatine compound which are available on the market, many
                                       7         of which consist of creatine bonded with other molecules, and describes
                                       8         the process of developing Super Creatine by joining creatine to other
                                                 amino acids. (“Declaration of Dr. Liangxi Li,” Dkt. No. 100 ¶¶ 13-16,
                                       9         21.) Li states that the purpose of joining the creatine and L-leucine
                                      10         amino acids was to create a form of creatine which is “more stable and
                                                 more bioavailable than other forms of creatine.” (Li Decl. ¶ 35.)
                                      11
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                                                 ECF 122, page 6.
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                                      12
                                           SPECIAL INTERROGATORY NO. 2:
       San Diego, CA 92101




                                      13
                                                 If YOU contend that BANG contains creatine, state all bases for YOUR
                                      14
                                           contention.
                                      15
                                           RESPONSE TO INTERROGATORY NO. 2:
                                      16
                                                 Responding Party objects to the extent this Interrogatory is duplicative of
                                      17
                                           Interrogatory No. 1. Responding Party objects to this Interrogatory to the extent it
                                      18
                                           seeks privileged attorney client communications or work product. Responding
                                      19
                                           Party further objects to this Interrogatory on the basis that it seeks information that
                                      20
                                           is confidential and proprietary in nature and, as such, will not be produced until a
                                      21
                                           Protective Order is in place. Responding Party objects to this Interrogatory as
                                      22
                                           seeking proprietary information regarding trade secrets, including ingredients,
                                      23
                                           recipes, formulations, formulae, which would be extremely detrimental to
                                      24
                                           Defendant if disseminated or distributed publicly or if provided to Responding
                                      25
                                           Party’s competitors or potential competitors. Responding Party further objects to
                                      26
                                           this Interrogatory as vague as to scope and time and seeking irrelevant information
                                      27
                                           and documents. Responding Party further objects to this Interrogatory as unduly
                                      28
                                                                                  -10-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 54 of 89 Page ID
                                                                      #:3703


                                       1   burdensome, harassing, and not proportional to the needs of this case under Rule
                                       2   26(b)(1). Responding Party objects to this Interrogatory as vague and ambiguous
                                       3   as to the scope and time. Responding Party objects to the definition of “BANG” as
                                       4   vague, ambiguous, overbroad, and harassing. Defendant objects to this
                                       5   Interrogatory as vague and ambiguous with respect to the undefined terms
                                       6   “contains” and “creatine.” Responding Party further objects to this Interrogatory
                                       7   to the extent this Interrogatory seeks information subject to expert analysis or
                                       8   opinion. To the extent information will be analyzed by an expert, such information
                                       9   may be provided in an expert’s report as set forth according to the Court’s
                                      10   schedule. Further, this Interrogatory appears to be duplicative of document
                                      11   requests, including specifically request no. 4 which seeks “All DOCUMENTS and
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                                      12   COMMUNICATIONS relating to YOUR studies, research, and tests of BANG
       San Diego, CA 92101




                                      13   products, including but not limited to:
                                      14         a.     The amount of creatine in BANG products;
                                      15         b.     The amount of SUPER CREATINE in BANG products;
                                      16         c.     The amount of creatine in SUPER CREATINE;
                                      17         d.     The incremental effect of including additional SUPER CREATINE in
                                      18                BANG products;
                                      19         e.     The contents of BANG products;
                                      20         f.     Comparisons between BANG products and products manufactured or
                                      21                sold by MONSTER;
                                      22         g.     The health impacts of creatyl-L-leucine; and
                                      23         h.     Discussions or analyses relating to creatinine.”
                                      24         Further, this Interrogatory is duplicative of request no. 50 which seeks “All
                                      25   DOCUMENTS and COMMUNICATIONS relating to the formulation or changes
                                      26   to the formulation of BANG products.” Responding Party incorporates by
                                      27   reference all objections made in response to Request for Documents, including but
                                      28   not limited to Nos. 4 and 50. Responding Party further objects to this Interrogatory
                                                                                  -11-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 55 of 89 Page ID
                                                                      #:3704


                                       1   as seeking information that calls for a legal conclusion.
                                       2         Subject to the foregoing general and specific objections, Defendant responds
                                       3   as follows:
                                       4         It is undisputed that many forms of creatine exist in the marketplace,
                                       5   including formulations combining creatine with amino acids. It is also undisputed
                                       6   that certain BANG products contain a form of creatine called creatyl-L-leucine,
                                       7   which combines creatine with the amino acid L-leucine, as alleged by Monster and
                                       8   allegedly proven by tests performed by Monster’s expert, Dr. Neil Spingarn.
                                       9   Creatyl-L-leucine in certain BANG products is branded under the trademark
                                      10   SUPER CREATINE. Responding Party also incorporates by reference the
                                      11   declaration by Dr. Li in support of Defendants’ Opposition to Monster’s Motion
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                                      12   for a Preliminary Injunction (ECF 100 and exhibits 100-1 through 100-3).
       San Diego, CA 92101




                                      13   Responding Party also incorporates by reference exhibits to the Declaration of
                                      14   Steven Feldman in support of Monster’s Motion for a Preliminary Injunction (ECF
                                      15   69, Exhibits 24 and 25, Thomas W. Buford, et al., International Society of Sports
                                      16   Nutrition position stand: creatine supplementation and exercise, J. Int. Soc. Sports.
                                      17   Nutr., Aug. 2007; see also Robert Cooper, et al., Creatine supplementation with
                                      18   specific view to exercise/sports performance: an update, J. Int. Soc. Sports. Nutr.,
                                      19   July 2012, respectively).
                                      20         This Interrogatory appears to seek expert testimony, which is improper prior
                                      21   to the deadline for expert reports. Expert reports and testimony will be served
                                      22   according to the Federal Rules and the Court’s schedule. This Interrogatory
                                      23   appears to seek documents from third parties: “all bases for YOUR contention.”
                                      24   Propounding Party will not produce “all” bases or DOCUMENTS in response to
                                      25   this Interrogatory. Pursuant to Federal Rule of Civil Procedure 33(d), Defendant
                                      26   reserves the right to produce business records in this action from which the answer
                                      27   to the reasonable scope of this Interrogatory may be ascertained. The answer to this
                                      28   Interrogatory may be determined by examining, auditing, compiling, abstracting,
                                                                                  -12-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 56 of 89 Page ID
                                                                      #:3705


                                       1   or summarizing Responding Party business records (including electronically stored
                                       2   information), and the burden of deriving or ascertaining the answer will be
                                       3   substantially the same for either party. Responding Party will meet and confer
                                       4   with Propounding Party to narrow the scope of this Request so that the non-
                                       5   privileged information in Responding Party’s possession, custody, or control
                                       6   sufficient to respond to this Request is proportionate to the needs of this case and
                                       7   will be produced subject to a Protective Order. Specifically, Responding Party will
                                       8   continue to meet and confer with Propounding Party regarding ESI protocols,
                                       9   custodians, search terms, and date ranges.
                                      10   SUPPLEMENTAL RESPONSE TO SPECIAL INTERROGATORY NO. 2:
                                      11         VPX maintains the foregoing and previously asserted general and special
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                                      12   objections and supplements its response in light of meet and confer efforts to
       San Diego, CA 92101




                                      13   resolve the discovery dispute between the parties, as follows:
                                      14         Statements that BANG contains creatine are true statements. Plaintiff
                                      15   moved to compel further response to Interrogatory No. 1, and VPX has agreed to
                                      16   disclose the quantity of that ingredient, creatyl-l-leucine, as well as the quantity of
                                      17   caffeine. In order to resolve discovery disputes during the discovery process in
                                      18   this case, VPX has disclosed through meet and confer efforts that the quantity of
                                      19   creatyl-l-leucine in a can of BANG® ready to drink cans of BANG® energy drinks
                                      20   with the reference to SUPER CREATINE® is less than 40 mg and caffeine is 300
                                      21   mg. VPX maintains that its formula and the quantity of creatyl-l-leucine is
                                      22   proprietary and a valuable trade secret which Monster seeks for competitive
                                      23   reasons because VPX’s BANG product is so successful that Monster introduced an
                                      24   almost identical product called REIGN with almost identical packaging, formula,
                                      25   and branding, which specifically targets and is directed to VPX’s customers. VPX
                                      26   discloses the amount of caffeine on the can label, which Monster recently copied in
                                      27   its knock-off REIGN product which also has 300 mg of caffeine. VPX maintains
                                      28   its objections to the formula being unnecessary as stated in VPX’s motions and
                                                                                  -13-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 57 of 89 Page ID
                                                                      #:3706


                                       1   objections filed with the Court which objections are incorporated herein. As stated
                                       2   in the original response above, creatyl-l-leucine is a bond of creatine and leucine. It
                                       3   is undisputed that many forms of creatine exist in the marketplace, including
                                       4   formulations combining creatine with amino acids. It is also undisputed that
                                       5   certain BANG products contain a form of creatine called creatyl-L-leucine, which
                                       6   combines creatine with the amino acid L-leucine, as alleged by Monster and
                                       7   allegedly proven by tests performed by Monster’s expert, Dr. Neil Spingarn.
                                       8   Creatyl-L-leucine in certain BANG products is branded under the trademark
                                       9   SUPER CREATINE.
                                      10         See also Court order denying Monster’s Motion for a Preliminary Injunction
                                      11   and related briefing, including those citations in the Order, excerpted below:
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                                      12
                                                 It appears, however, that Monster’s claims rely on an overly narrow
       San Diego, CA 92101




                                      13         understanding of the word “creatine,” since, as discussed in their own
                                      14         evidentiary submissions, “[m]any forms of creatine exist in the
                                                 marketplace,” including formulations combining creatine with other
                                      15         amino acids. Thomas W. Buford, et al., International Society of Sports
                                      16         Nutrition position stand: creatine supplementation and exercise, J. Int.
                                                 Soc. Sports. Nutr., Aug. 2007; see also Robert Cooper, et al., Creatine
                                      17         supplementation with specific view to exercise/sports performance: an
                                      18         update, J. Int. Soc. Sports. Nutr., July 2012. The parties agree that
                                                 “Super Creatine” is a dipeptide – a chemical composed of two amino
                                      19         acids – which consists of the amino acids creatine and L-leucine.
                                      20         (“Declaration of Dr. Liangxi Li,” Dkt. No. 100 ¶ 24; Spingarn Decl. ¶
                                                 13.) Defendants have submitted the declaration of Dr. Liangxi Li,
                                      21         Research & Development Manager at VPX, which details the many
                                      22         forms of creatine compound which are available on the market, many
                                                 of which consist of creatine bonded with other molecules, and describes
                                      23         the process of developing Super Creatine by joining creatine to other
                                      24         amino acids. (“Declaration of Dr. Liangxi Li,” Dkt. No. 100 ¶¶ 13-16,
                                                 21.) Li states that the purpose of joining the creatine and L-leucine
                                      25         amino acids was to create a form of creatine which is “more stable and
                                      26         more bioavailable than other forms of creatine.” (Li Decl. ¶ 35.)

                                      27         ECF 122, page 6.

                                      28
                                                                                  -14-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 58 of 89 Page ID
                                                                      #:3707


                                       1   SPECIAL INTERROGATORY NO. 4:
                                       2         If YOU contend that the “Super Creatine” in BANG creates positive health
                                       3   effects for drinkers, identify all publications, research papers, and DOCUMENTS
                                       4   supporting YOUR claim, and how that source supports YOUR claim that the
                                       5   “Super Creatine” in BANG creates positive health effects for drinkers.
                                       6   RESPONSE TO INTERROGATORY NO. 4:
                                       7         Responding Party objects to this Interrogatory to the extent it seeks
                                       8   privileged attorney client communications or work product. Responding Party
                                       9   further objects to this Interrogatory on the basis that it seeks information that is
                                      10   confidential and proprietary in nature and, as such, will not be produced until a
                                      11   Protective Order is in place. Responding Party objects to this Interrogatory as
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                                      12   seeking proprietary information regarding trade secrets, including ingredients,
       San Diego, CA 92101




                                      13   recipes, formulations, formulae, which would be extremely detrimental to
                                      14   Defendant if disseminated or distributed publicly or if provided to Responding
                                      15   Party’s competitors or potential competitors. Responding Party further objects to
                                      16   this Interrogatory as vague as to scope and time and seeking irrelevant information
                                      17   and documents. Responding Party further objects to this Interrogatory as unduly
                                      18   burdensome, harassing, and not proportional to the needs of this case under Rule
                                      19   26(b)(1). Responding Party objects to this Interrogatory as vague and ambiguous
                                      20   as to the scope and time. Responding Party objects to the definitions of “BANG”
                                      21   and “SUPER CREATINE” as vague, ambiguous, overbroad, and harassing.
                                      22   Defendant objects to this Interrogatory as vague and ambiguous with respect to the
                                      23   undefined terms “supporting,” “YOUR claim,” “positive health effects,” “health
                                      24   effects.” Responding Party further objects to this Interrogatory to the extent this
                                      25   Interrogatory seeks information subject to expert analysis or opinion. To the extent
                                      26   information will be analyzed by an expert, such information may be provided in an
                                      27   expert’s report as set forth according to the Court’s schedule. Further, this
                                      28   Interrogatory appears to be duplicative of document requests, including
                                                                                  -15-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 59 of 89 Page ID
                                                                      #:3708


                                       1   specifically request no. 4 which seeks “All DOCUMENTS and
                                       2   COMMUNICATIONS relating to YOUR studies, research, and tests of BANG
                                       3   products, including but not limited to:
                                       4         a.      The amount of creatine in BANG products;
                                       5         b.      The amount of SUPER CREATINE in BANG products;
                                       6         c.      The amount of creatine in SUPER CREATINE;
                                       7         d.      The incremental effect of including additional SUPER CREATINE in
                                       8                 BANG products;
                                       9         e.      The contents of BANG products;
                                      10         f.      Comparisons between BANG products and products manufactured or
                                      11                 sold by MONSTER;
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                                      12         g.      The health impacts of creatyl-L-leucine; and
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                                      13         h.      Discussions or analyses relating to creatinine.”
                                      14         Further, this Interrogatory is duplicative of request no. 50 which seeks “All
                                      15   DOCUMENTS and COMMUNICATIONS relating to the formulation or changes
                                      16   to the formulation of BANG products.” Responding Party incorporates by
                                      17   reference all objections made in response to Request for Documents, including but
                                      18   not limited to Nos. 4, 36, 37, 48, and 50. Responding Party further objects to the
                                      19   extent this request seeks information from third-parties. Responding Party further
                                      20   objects to this Interrogatory as seeking information that calls for a legal conclusion.
                                      21         Subject to the foregoing general and specific objections, Defendant responds
                                      22   as follows:
                                      23         Even though Responding Party is responding to this Interrogatory,
                                      24   Responding Party does not have the burden of proof as to the topic raised in this
                                      25   Interrogatory. See e.g., Order Denying Monster’s Motion for a Preliminary
                                      26   Injunction, dated June 6, 2019, ECF 122, page 6. For example, Propounding Party
                                      27   has the burden of demonstrating that Creatyl-L-Leucine does not provide the
                                      28   benefits of creatine. This Interrogatory appears to seek expert testimony, which is
                                                                                  -16-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 60 of 89 Page ID
                                                                      #:3709


                                       1   improper prior to the deadline for expert reports. Expert reports and testimony will
                                       2   be served according to the Federal Rules and the Court’s schedule. Responding
                                       3   Party reserves the right to provide a rebuttal to Propounding Party’s position after
                                       4   Propounding Party provides its position, evidence, expert reports, or testimony.
                                       5   Responding Party incorporates by reference the declaration by Dr. Li in support of
                                       6   Defendants’ Opposition to Monster’s Motion for Preliminary Injunction, including
                                       7   Exhibit L3 (ECF 100 and exhibits 100-1 through 100-3). Exhibit L3 to Dr. Li’s
                                       8   Declaration is a true and correct copy of the poster presentation for this latest study
                                       9   of BANG®. VPX sponsored a double-blind, placebo-controlled, crossover trial
                                      10   study of BANG®, performed by Nova Southeastern University, entitled “The
                                      11   Effects of BANG® Energy on Psychomotor Vigilance,” by Christopher Horn,
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                                      12   Madaline Kenyon, Cassandra Carson, Anya Ellerbrock, Lia Jiannine, Tobin Silver,
       San Diego, CA 92101




                                      13   Corey Peacock, Jaime Tartar, and Jose Antonio. In conclusion, the BANG®
                                      14   energy drink resulted in a significantly lower (i.e., faster) (p<0.05) psychomotor
                                      15   vigilance mean reaction time versus the placebo as well as fewer lapses. Creatyl-L-
                                      16   leucine in certain BANG products is branded under the trademark SUPER
                                      17   CREATINE.
                                      18         This Interrogatory specifically seeks documents from third parties: “all
                                      19   publications, research papers, and DOCUMENTS supporting YOUR claim.”
                                      20   Propounding Party will not produce “all” DOCUMENTS in response to this
                                      21   Interrogatory. Pursuant to Federal Rule of Civil Procedure 33(d), Defendant
                                      22   reserves the right to produce business records in this action from which the answer
                                      23   to the reasonable scope of this Interrogatory may be ascertained. The answer to this
                                      24   Interrogatory may be determined by examining, auditing, compiling, abstracting,
                                      25   or summarizing Responding Party business records (including electronically stored
                                      26   information), and the burden of deriving or ascertaining the answer will be
                                      27   substantially the same for either party. Responding Party will meet and confer
                                      28   with Propounding Party to narrow the scope of this Request so that the non-
                                                                                  -17-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 61 of 89 Page ID
                                                                      #:3710


                                       1   privileged information in Responding Party’s possession, custody, or control
                                       2   sufficient to respond to this Request is proportionate to the needs of this case and
                                       3   will be produced subject to a Protective Order. Specifically, Responding Party will
                                       4   continue to meet and confer with Propounding Party regarding ESI protocols,
                                       5   custodians, search terms, and date ranges.
                                       6   SUPPLEMENTAL RESPONSE TO SPECIAL INTERROGATORY NO. 4:
                                       7         VPX maintains the foregoing and previously asserted general and special
                                       8   objections and supplements its response in light of meet and confer efforts to
                                       9   resolve the discovery dispute between the parties, as follows:
                                      10         The Parties have met and conferred as to email search terms and protocols
                                      11   and have agreed to review certain documents which appear targeted at this request
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                                      12   and may be responsive to this Interrogatory, such as studies, etc. VPX is reviewing
       San Diego, CA 92101




                                      13   numerous documents and will supplement its rolling production and may
                                      14   supplement this Interrogatory if additional information is discovered. VPX
                                      15   maintains that Monster has the burden of proving all elements of each of the
                                      16   asserted causes of action. Monster has not done so. During meet and confer
                                      17   correspondence relating to this Interrogatory, while this Interrogatory does not seek
                                      18   information regarding the quantity of creatyl-l-leucine in BANG energy drinks,
                                      19   Monster claimed that the information regarding the quantity of creatyl-l-leucine
                                      20   and these interrogatories were relevant to claims 1-3 of the First Amended
                                      21   Complaint (FAC), which relate to claims of false advertising, specifically related to
                                      22   alleged statements made to consumers upon which those consumers would rely. In
                                      23   response to Paragraph 51 of the FAC, VPX responded that “Defendants admit
                                      24   Owoc has been asked on social media how much Super Creatine is in BANG® and
                                      25   that such is proprietary information.” Monster does not dispute that the BANG
                                      26   formula is a trade secret; in fact, Monster claims that its own formulas (e.g.,
                                      27   REIGN) are trade secrets and such disclosure would harm the owner of the formula
                                      28   if such information was in the hands of a competitor. Monster does not allege that
                                                                                  -18-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 62 of 89 Page ID
                                                                      #:3711


                                       1   VPX has ever disclosed the formula for BANG or that any consumer has ever
                                       2   relied on any statements from VPX relating to the formula or quantities of
                                       3   ingredients, other than 300 mg of caffeine, in BANG. VPX maintains that its
                                       4   formula and the quantity of creatyl-l-leucine is proprietary and a valuable trade
                                       5   secret which Monster seeks for competitive reasons because VPX’s BANG
                                       6   product is so successful that Monster introduced an almost identical product called
                                       7   REIGN with almost identical packaging, formula, and branding, which specifically
                                       8   targets and is directed to VPX’s customers. In order to resolve discovery disputes
                                       9   during the discovery process in this case, VPX has disclosed through meet and
                                      10   confer efforts that the quantity of creatyl-l-leucine in a can of BANG® ready to
                                      11   drink cans of BANG® energy drinks with the reference to SUPER CREATINE® is
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                                      12   less than 40 mg and caffeine is 300 mg. VPX has not disclosed the quantities of
       San Diego, CA 92101




                                      13   the other ingredients in BANG. VPX has not previously disclosed the quantity of
                                      14   creatyl-l-leucine in advertising or on the labels of its cans of BANG®, nor has VPX
                                      15   ever stated that there were more than 40 mg of creatyl-l-leucine in BANG® ready
                                      16   to drink cans. No competitors of VPX sell an energy drink with more creatyl-l-
                                      17   leucine than BANG. No consumers seeking a specific quantity of creatine in any
                                      18   form have been told by VPX how much creatyl-l-leucine is in the proprietary blend
                                      19   of BANG. Thus, no consumers could reasonably rely on such statements in
                                      20   advertisements (as VPX has not made those statements). In addition, no false
                                      21   statements of fact were made about the quantities of ingredients or their impact on
                                      22   consumers for this product, no consumer could have relied on or did rely on such
                                      23   statements, no statements deceived consumers or were likely to deceive
                                      24   consumers, and no alleged “deception” (as Monster alleges) was or would be
                                      25   material to a consumer. Further, Monster could not have been harmed by any
                                      26   statements relating to creatyl-l-leucine related to the BANG energy drink. As set
                                      27   forth through Dr. Li’s Declaration and the patent, to VPX’s knowledge, VPX is the
                                      28   first to use creatyl-l-leucine in an energy drink. To date, VPX is not aware of any
                                                                                  -19-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 63 of 89 Page ID
                                                                      #:3712


                                       1   competitors who have sold an energy drink containing creatyl-l-leucine. Upon
                                       2   information and belief, Monster has never made and does not sell an energy drink
                                       3   with creatyl-l-leucine or other form of creatine, even creatine monohydrate. See
                                       4   Monster Response to Request for Admission (“RFA”) Nos. 1-6 (RFA No. 1:
                                       5   “…Monster admits that it has never released an energy drink product with Monster
                                       6   branding that contains creatine.”; RFA No. 2: “Monster admits that it has never
                                       7   released an energy drink product with Monster branding that contains creatyl-L-
                                       8   leucine.”
                                       9         Creatine supplements come in many forms in the marketplace and such
                                      10   supplements have been scientifically proven to provide positive health effects,
                                      11   including building muscle and strength and boosting athletic performance, and
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                                      12   research has also shown that creatine supplements have the potential for helping
       San Diego, CA 92101




                                      13   with age-related neurological diseases, such as improving brain function and
                                      14   boosting memory. Dr. Li cites to some studies in his Declaration, other studies are
                                      15   available publicly, and studies that are responsive to Monster’s proposed email
                                      16   search terms that are agreed upon by the parties will be reviewed and responsive,
                                      17   non-privileged documents will be produced. Further, there is no dispute that
                                      18   studies show that exercise, a healthy lifestyle, and low carbohydrate and low sugar
                                      19   diets can provide benefits (unlike many of Monster’s energy drinks) can provide
                                      20   health benefits and new articles and studies come out all the time. See, e.g., an
                                      21   article dated today, October 30, 2019, in the Wall Street Journal, titled “The Link
                                      22   Between Diet, Exercise and Alzheimer’s - A new study finds that lifestyle changes
                                      23   can improve cognition.” https://www.wsj.com/articles/the-link-between-diet-
                                      24   exercise-and-alzheimers-11572427802. That article cites to a study released on
                                      25   October 30, 2019.
                                      26         The creatyl-l-leucine in a 16 oz. can of a BANG® energy drink is not
                                      27   intended to be a sole source of creatine and does not advertise that it is, but rather
                                      28   is a great tasting drink to add to a well-balanced diet that includes the consumption
                                                                                  -20-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 64 of 89 Page ID
                                                                      #:3713


                                       1   of other foods containing creatine, such as beef, chicken, pork, eggs, and
                                       2   fish. Further, Bang as a complete product with zero sugars and zero calories is a
                                       3   healthier option than most energy drinks manufactured by its competitors,
                                       4   including Monster, which contain large quantities of sugar, carbohydrates, and
                                       5   other more harmful ingredients. And, in addition to creatyl-l-leucine (Super
                                       6   Creatine), Bang contains many ingredients that have been characterized as
                                       7   providing positive health benefits, including caffeine, vitamins, electrolytes,
                                       8   CoQ10 and amino acids. In fact, as referenced above, a recent peer-reviewed
                                       9   double blind study of Bang RTD demonstrated that the BANG® energy drink
                                      10   resulted in a significantly lower (i.e., faster) (p<0.05) psychomotor vigilance mean
                                      11   reaction time versus the placebo as well as fewer lapses.
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                                      12         VPX is not aware of any contentions VPX has made in this case or publicly
       San Diego, CA 92101




                                      13   about the quantity of the creatyl-l-leucine (Super Creatine) in a 16 oz. can of a
                                      14   BANG® energy drink or that the quantity of the creatyl-l-leucine (Super Creatine)
                                      15   in a 16-oz can creates “positive health effects for drinkers” as phrased in this
                                      16   Interrogatory, except as compared to other energy drinks offered by
                                      17   competitors. In fact, Monster introduced a similar product called REIGN in order
                                      18   to compete with VPX in a category of drinks third parties call the performance
                                      19   energy category. See e.g., Monster’s Motion for a Preliminary Injunction Exhibit C
                                      20   and D to Emilie Tirre’s Declaration in support of Monster’s Motion, ECF 67-6.
                                      21   Below is an excerpt from Exhibit C, page 24 of 27, showing Reign’s description of
                                      22
                                      23
                                      24
                                      25
                                      26
                                      27
                                      28
                                                                                  -21-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 65 of 89 Page ID
                                                                      #:3714


                                       1   ingredients mirroring BANG’s description.
                                       2
                                       3
                                       4
                                       5
                                       6
                                       7
                                       8
                                       9         Further in Exhibit D to Tirre’s Declaration, Monster cites to a report from

                                      10   Guggenheim which claims that “Monster has one of the most attractive long-term

                                      11   growth algorithms in our Food and Beverage coverage as we expect organic sales
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                                           and EPS CAGR of 10% and 14%, respectively. The sustainable growth outlook is
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                                      12
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                                      13   supported by … 3) innovation in energy-adjacent segments such as coffee and

                                      14   “performance energy” with REIGN…”

                                      15         Monster’s counsel stated during meet and confer correspondence that certain

                                      16   paragraphs of the First Amended Complaint were the basis of Monster’s

                                      17   Interrogatories Nos. 4, 7, and 8, specifically paragraphs 46 to 48 of the First

                                      18   Amended Complaint (“FAC”). Paragraphs 46-48 of the FAC, however, do not

                                      19   provide any context for where those statements come from, none of these alleged

                                      20   statements are full quotes, and Monster provided no citations to where these

                                      21   statements were made. As such, it does not appear from the quoted language or the

                                      22   descriptions made by Monster in Paragraphs 46 to 48 that these statements are

                                      23   about any specific health effects of creatyl-l-leucine in a can of BANG ready to

                                      24   drink energy drinks or related to the quantity of creatyl-l-leucine in a can. Monster

                                      25   does not allege that these statements were made in public, to consumers, or in

                                      26   advertisements. The fact that those statements are not in quotes indicates that the

                                      27   statements are taken out of context and that none of them are about Super Creatine

                                      28   when considered in context. Further, as stated in the prior objections, there is no
                                                                                  -22-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 66 of 89 Page ID
                                                                      #:3715


                                       1   evidence from Monster or its experts that any of these statements are false. VPX
                                       2   has already addressed and denied many of these statements in a post on its website:
                                       3   https://bang-energy.com/blog/ca-based-monster-energy-file-third-frivolous-
                                       4   lawsuit-against-vpx/, including the following statement by Jack Owoc addressing
                                       5   numerous false allegations in Monster’s Complaint: “I never claim that Bang can
                                       6   reverse intellectual disability and help cure diseases such as Alzheimer’s,
                                       7   Parkinson’s, Huntington’s and other forms of dementia. Bang is infinitely safer and
                                       8   healthier than Monster – consumption of Monster is associated with 17 deaths,
                                       9   heart attack, heartbeat irregularities and countless adverse event reports.”
                                      10   SPECIAL INTERROGATORY NO. 6:
                                      11         Explain what the letters and numbers on the bottom of each BANG can refer
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                                      12   to, including by identifying the information necessary to confirm date of
       San Diego, CA 92101




                                      13   production, location of production, production facility, and/or expiration date of
                                      14   the product indicated by each combination of letters and/or numbers. For
                                      15   reference, Exhibit A contains pictures of bottoms of a sample of BANG cans.
                                      16   RESPONSE TO INTERROGATORY NO. 6:
                                      17         Responding Party further objects to this Interrogatory on the basis that it
                                      18   seeks information that is confidential and proprietary in nature and is subject to the
                                      19   Protective Order. Specifically, this Interrogatory seeks trade secret information
                                      20   from a competitor pertaining to the reference to internal codes and production
                                      21   facilities and such information is not typically shared with competitors and may be
                                      22   used by Propounding Party to compete against Responding Party. Responding
                                      23   Party further objects to this Interrogatory as vague as to scope and time and
                                      24   seeking irrelevant information and documents. Responding Party further objects to
                                      25   this Interrogatory as unduly burdensome, harassing, and not proportional to the
                                      26   needs of this case under Rule 26(b)(1). Responding Party objects to this request as
                                      27   vague and ambiguous with respect to “each BANG can,” “date of production,” and
                                      28   “expiration date,” as those terms are not defined or included on the bottom of a can
                                                                                  -23-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 67 of 89 Page ID
                                                                      #:3716


                                       1   in the images in Exhibit A. Responding Party further objects to the extent other
                                       2   information necessary to respond to this Interrogatory is within the possession of
                                       3   Propounding Party but has not been produced, such as other information
                                       4   identifying the packaging of the can, and it is not clear from the four photographs
                                       5   in Exhibit A that the cans depicted are cans of Responding Party’s BANG®
                                       6   product. To the extent the images on the bottom of the cans depicted in Exhibit A
                                       7   are not BANG® products, Responding Party objects to this Interrogatory as
                                       8   misleading, irrelevant, seeking information from third-parties, and/or calling for
                                       9   speculation. Responding Party will respond with respect to the examples provided
                                      10   in Exhibit A to the Interrogatories to the best of Responding Party’s knowledge
                                      11   based on information and belief.
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                                      12         Subject to the foregoing general and specific objections, Responding Party
       San Diego, CA 92101




                                      13   responds as follows:
                                      14         The following is an explanation of the information included on the bottom of
                                      15   the BANG® cans depicted in the images in Exhibit A. Generally, the phrase “best
                                      16   by” refers to the date by which the beverage will be of best flavor or quality. This
                                      17   “best by” phrase is followed by a six-digit numerical code specifying the month,
                                      18   day, and year, by which the beverage is “best by.” This six-digit numerical code
                                      19   (for the “best by” date) is followed by a two- or three-digit internal abbreviation
                                      20   for the location (or site “ID”) where the beverage was co-packed. Finally, this
                                      21   location or site ID is followed by a four-digit numerical code specifying when, in
                                      22   military time, the beverage was co-packed. Otherwise, the information necessary
                                      23   to confirm the date of production is contained within the “best by” date; the
                                      24   information necessary to confirm the location of production is contained within the
                                      25   site ID; and, the information necessary to confirm the production facility also is
                                      26   contained within the site ID.
                                      27         For example:
                                      28
                                                                                  -24-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 68 of 89 Page ID
                                                                      #:3717


                                       1              With respect to the information on the bottom of the can depicted in
                                       2                the first image in Exhibit A (copied below), the “best by” date is
                                       3                March 5, 2020; the beverage was co-packed at a facility located in
                                       4                Jacksonville, FL, at 6:13 PM.
                                       5
                                       6
                                       7
                                       8
                                       9              With respect to the information on the bottom of the can depicted in
                                      10                the second image in Exhibit A (shown below), the “best by” date is
                                      11                November 17, 2019; the beverage was co-packed at a facility located
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                                      12                in Portland, OR, at 3:08 PM.
       San Diego, CA 92101




                                      13
                                      14
                                      15
                                      16
                                      17
                                      18              With respect to the information on the bottom of the can depicted in
                                      19                the third image in Exhibit A (shown below), the “best by” date is
                                      20                March 18, 2020; the beverage was co-packed at a facility located in
                                      21                Sikeston, MO, at 7:52 AM.
                                      22
                                      23
                                      24
                                      25
                                      26              With respect to the information on the bottom of the can depicted in
                                      27                the fourth image in Exhibit A (shown below), the “best by” date is
                                      28
                                                                                  -25-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 69 of 89 Page ID
                                                                      #:3718


                                       1                 February 24, 2020; the beverage was co-packed at a facility located
                                       2                 in San Antonio, TX, at 1:16 AM.
                                       3
                                       4
                                       5
                                       6
                                       7
                                           SUPPLEMENTAL RESPONSE TO SPECIAL INTERROGATORY NO. 6:
                                       8
                                                 VPX maintains the foregoing and previously asserted general and special
                                       9
                                           objections and supplements its response in light of meet and confer efforts to
                                      10
                                           resolve the discovery dispute between the parties, as follows:
                                      11
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                                                 VPX has provided information above to sufficiently respond to this
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                                      12
                                           Interrogatory. During meet and confer correspondence related to the these
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                                      13
                                           interrogatories, Monster stated that it needed co-packer information because it was
                                      14
                                           relevant to the formula for BANG. In light of the disclosure in this lawsuit of the
                                      15
                                           amount of creatyl-l-leucine in BANG and the amount of caffeine, and based on the
                                      16
                                           importance of maintaining trade secret information from a competitor which would
                                      17
                                           now only be used for non-litigation, competitive purposes or to harrass, VPX
                                      18
                                           objects to the production of further information regarding all of VPX’s co-packers.
                                      19
                                           VPX contends that this is proprietary trade secret information which VPX contends
                                      20
                                           Monster has no reason to seek this information other than for competitive reasons
                                      21
                                           outside this litigation. Based on information disclosed during meet and confer
                                      22
                                           correspondence, it is not necessary for Monster to have this information regarding
                                      23
                                           co-packers. Monster apparently seeks this information regarding co-packers or
                                      24
                                           relevant dates in order to confirm testing of creatyl-l-leucine or to seek further
                                      25
                                           information specifically regarding VPX’s formulas for BANG, as alleged in the
                                      26
                                           First Amended Complaint. Since VPX has disclosed the quantity of creatyl-l-
                                      27
                                           leucine in meet and confer correspondence in this lawsuit, there is no reason for
                                      28
                                                                                  -26-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 70 of 89 Page ID
                                                                      #:3719


                                       1   Monster to seek further information from or harass VPX’s co-packers, other than
                                       2   for competitive reasons. To disclose the information regarding co-packers would
                                       3   necessarily put VPX at a competitive disadvantage and provide a competitive
                                       4   advantage to Monster completely separate from this lawsuit specifically because
                                       5   those co-packers may have finite capacity and Monster may seek to disadvantage
                                       6   VPX by targeting those co-packers for Monster’s competitive reasons. This
                                       7   information is not proportional to the needs of the case or necessary to disclose.
                                       8         As stated above, the information regarding the co-packers is not relevant
                                       9   other than for purposes of Monster seeking information regarding the formula.
                                      10   Plaintiff moved to compel further response to Interrogatory No. 1, and VPX has
                                      11   agreed to disclose the quantity of that ingredient as well as caffeine. In order to
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                                      12   resolve discovery disputes during the discovery process in this case, VPX has
       San Diego, CA 92101




                                      13   disclosed through meet and confer efforts that the quantity of creatyl-l-leucine in a
                                      14   can of BANG® ready to drink cans of BANG® energy drinks with the reference to
                                      15   SUPER CREATINE® is less than 40 mg and caffeine is 300 mg. VPX maintains
                                      16   that its formula and the quantity of creatyl-l-leucine is proprietary and a valuable
                                      17   trade secret which Monster seeks for competitive reasons because VPX’s BANG
                                      18   product is so successful that Monster introduced an almost identical product called
                                      19   REIGN with almost identical packaging, formula, and branding, which specifically
                                      20   targets and is directed to VPX’s customers. VPX discloses the amount of caffeine
                                      21   on the can label, which Monster recently copied in its knock-off REIGN product
                                      22   which also has 300 mg of caffeine. VPX maintains its objections to the formula
                                      23   being unnecessary as stated in VPX’s motions and objections filed with the Court
                                      24   which objections are incorporated herein.
                                      25   SPECIAL INTERROGATORY NO. 7:
                                      26         If YOU contend that the Super Creatine contained in BANG has an effect on
                                      27   the VITALS and SUBSTANCES in the human body, identify all such effects and
                                      28   all DOCUMENTS that support YOUR contention.
                                                                                  -27-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 71 of 89 Page ID
                                                                      #:3720


                                       1   RESPONSE TO INTERROGATORY NO. 7:
                                       2         Responding Party objects to this Interrogatory on the basis that it seeks
                                       3   information that is confidential and proprietary in nature and is subject to the
                                       4   Protective Order. Responding Party further objects to this Interrogatory as vague
                                       5   as to scope and time and seeking irrelevant information and documents.
                                       6   Responding Party further objects to this Interrogatory as overbroad, vague, and
                                       7   ambiguous as to the terms “BANG” (as defined), “Super Creatine” (as it is not
                                       8   defined in this set of Interrogatories), “contend/contention,” “an effect/all such
                                       9   effects,” “VITALS,” and “SUBSTANCES,” as defined in this Interrogatory and
                                      10   the terms used in the definitions of VITALS and SUBSTANCES including the
                                      11   overbroad phrase “including” used in in the definitions. Responding Party further
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                                      12   objects to this Interrogatory as irrelevant, unduly burdensome, harassing, and not
       San Diego, CA 92101




                                      13   proportional to the needs of this case under Rule 26(b)(1). Propounding Party
                                      14   further objects to this Interrogatory to the extent it seeks information regarding
                                      15   documents and nonwritten files that may be within the scope of electronic requests
                                      16   for emails, and the Parties are meeting and conferring regarding document
                                      17   production, including custodians, search terms, and objections. Responding Party
                                      18   will not produce documents that are publicly available in response to this Request.
                                      19   Responding Party has no obligation to investigate and discover information and
                                      20   materials from third parties or sources that are equally accessible to Propounding
                                      21   Party such as, for example and without limitation, third party information
                                      22   regarding testing and studies. Responding Party further objects to this
                                      23   Interrogatory as seeking information that calls for expert opinion or a legal
                                      24   conclusion. To the extent information will be analyzed by an expert, such
                                      25   information may be provided in an expert’s report as set forth according to the
                                      26   Court’s schedule. Further, this Interrogatory appears to be duplicative of document
                                      27   requests, including specifically request No. 4, 36, and 37. Responding Party
                                      28   incorporates by reference all objections made in response to Request for
                                                                                  -28-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 72 of 89 Page ID
                                                                      #:3721


                                       1   Documents, including but not limited to Nos. 4, 36, and 37.
                                       2         Subject to the foregoing general and specific objections, Responding Party
                                       3   responds as follows:
                                       4         Even though Responding Party is responding to this Interrogatory, to the
                                       5   extent this Interrogatory seeks relevant information, Responding Party does not
                                       6   have the burden of proof as to the topic raised in this Interrogatory. See e.g., Order
                                       7   Denying Monster’s Motion for a Preliminary Injunction, dated June 6, 2019, ECF
                                       8   122, page 6. For example, Propounding Party has the burden of demonstrating that
                                       9   Creatyl-L-Leucine or Creatyl-L-Glutamine do not provide the benefits of creatine.
                                      10   This Interrogatory appears to seek expert testimony, which is premature at this
                                      11   time and improper prior to the deadline for expert reports. Expert reports and
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                                      12   testimony will be served according to the Federal Rules and the Court’s schedule.
       San Diego, CA 92101




                                      13   Responding Party reserves the right to provide a rebuttal to Propounding Party’s
                                      14   position after Propounding Party provides its position, evidence, expert reports,
                                      15   and/or testimony. While Responding Party is not aware of any previous contention
                                      16   that Responding Party has made in this litigation that SUPER CREATINE in
                                      17   BANG® has “an effect” on “VITALS” or “SUBSTANCES,” as those terms are
                                      18   defined in this Interrogatory, and because any such contention in an expert report
                                      19   would be premature at this time, Responding Party explicitly reserves the right to
                                      20   make that contention in this case in the future. To the extent Propounding Party is
                                      21   referring to a specific contention that Propounding Party believes Responding
                                      22   Party has made about effects on VITALS or SUBSTANCES as those terms are
                                      23   defined, Responding Party objects to this Interrogatory as vague in scope and
                                      24   Responding Party seeks that information from Responding Party so that the scope
                                      25   of this Interrogatory can be clearly defined and Responding Party can respond to
                                      26   any specific contention(s) to which this Interrogatory is targeted. Responding
                                      27   Party incorporates by reference the declaration by Dr. Li in support of Defendants’
                                      28   Opposition to Monster’s Motion for Preliminary Injunction, including Exhibit L3
                                                                                  -29-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 73 of 89 Page ID
                                                                      #:3722


                                       1   (ECF 100 and exhibits 100-1 through 100-3) and documents referred to therein,
                                       2   including United States Patent No. 8,445,466. Exhibit L3 to Dr. Li’s Declaration
                                       3   is a true and correct copy of the poster presentation for this latest study of BANG®.
                                       4   VPX sponsored a double-blind, placebo-controlled, crossover trial study of
                                       5   BANG®, performed by Nova Southeastern University, entitled “The Effects of
                                       6   BANG® Energy on Psychomotor Vigilance,” by Christopher Horn, Madaline
                                       7   Kenyon, Cassandra Carson, Anya Ellerbrock, Lia Jiannine, Tobin Silver, Corey
                                       8   Peacock, Jaime Tartar, and Jose Antonio. In conclusion, the BANG® energy drink
                                       9   resulted in a significantly lower (i.e., faster) (p<0.05) psychomotor vigilance mean
                                      10   reaction time versus the placebo as well as fewer lapses. Both Creatyl-L-leucine
                                      11   and Creatyl-L-glutamine in certain BANG® products have been branded under the
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                                      12   trademark SUPER CREATINE.
       San Diego, CA 92101




                                      13         This Interrogatory specifically seeks documents from third parties: “identify
                                      14   all such effects and all DOCUMENTS that support YOUR contention.”
                                      15   Propounding Party will not produce “all” DOCUMENTS in response to this
                                      16   Interrogatory. Pursuant to Federal Rule of Civil Procedure 33(d), Defendant
                                      17   reserves the right to produce business records in this action from which the answer
                                      18   to the reasonable scope of this Interrogatory may be ascertained. The answer to this
                                      19   Interrogatory may be determined by examining, auditing, compiling, abstracting,
                                      20   or summarizing Responding Party business records (including electronically stored
                                      21   information), and the burden of deriving or ascertaining the answer will be
                                      22   substantially the same for either party. Responding Party will meet and confer
                                      23   with Propounding Party to narrow the scope of this Request so that the non-
                                      24   privileged information in Responding Party’s possession, custody, or control
                                      25   sufficient to respond to this Request is proportionate to the needs of this case and
                                      26   will be produced subject to a Protective Order. Specifically, Responding Party will
                                      27   continue to meet and confer with Propounding Party regarding ESI protocols,
                                      28   custodians, search terms, and date ranges.
                                                                                  -30-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 74 of 89 Page ID
                                                                      #:3723


                                       1   SUPPLEMENTAL RESPONSE TO SPECIAL INTERROGATORY NO. 7:
                                       2         VPX maintains the foregoing and previously asserted general and special
                                       3   objections and supplements its response in light of meet and confer efforts to
                                       4   resolve the discovery dispute between the parties, as follows:
                                       5         The Parties have met and conferred as to email search terms and protocols
                                       6   and have agreed to review certain documents which appear targeted at this request
                                       7   and may be responsive to this Interrogatory, such as studies, etc. VPX is reviewing
                                       8   numerous documents and will supplement its rolling production and may
                                       9   supplement this Interrogatory if additional information is discovered. VPX
                                      10   maintains that Monster has the burden of proving all elements of each of the
                                      11   asserted causes of action. Monster has not done so. During meet and confer
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                                      12   correspondence relating to this Interrogatory, while this Interrogatory does not seek
       San Diego, CA 92101




                                      13   information regarding the quantity of creatyl-l-leucine in BANG energy drinks,
                                      14   Monster claimed that the information regarding the quantity of creatyl-l-leucine
                                      15   and these interrogatories were relevant to claims 1-3 of the First Amended
                                      16   Complaint (FAC), which relate to claims of false advertising, specifically related to
                                      17   alleged statements made to consumers upon which those consumers would rely. In
                                      18   response to Paragraph 51 of the FAC, VPX responded that “Defendants admit
                                      19   Owoc has been asked on social media how much Super Creatine is in BANG® and
                                      20   that such is proprietary information.” Monster does not dispute that the BANG
                                      21   formula is a trade secret; in fact, Monster claims that its own formulas (e.g.,
                                      22   REIGN) are trade secrets and such disclosure would harm the owner of the formula
                                      23   if such information was in the hands of a competitor. Monster does not allege that
                                      24   VPX has ever disclosed the formula for BANG or that any consumer has ever
                                      25   relied on any statements from VPX relating to the formula or quantities of
                                      26   ingredients, other than 300 mg of caffeine, in BANG. VPX maintains that its
                                      27   formula and the quantity of creatyl-l-leucine is proprietary and a valuable trade
                                      28   secret which Monster seeks for competitive reasons because VPX’s BANG
                                                                                  -31-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 75 of 89 Page ID
                                                                      #:3724


                                       1   product is so successful that Monster introduced an almost identical product called
                                       2   REIGN with almost identical packaging, formula, and branding, which specifically
                                       3   targets and is directed to VPX’s customers. In order to resolve discovery disputes
                                       4   during the discovery process in this case, VPX has disclosed through meet and
                                       5   confer efforts that the quantity of creatyl-l-leucine in a can of BANG® ready to
                                       6   drink cans of BANG® energy drinks with the reference to SUPER CREATINE® is
                                       7   less than 40 mg and caffeine is 300 mg. VPX has not disclosed the quantities of
                                       8   the other ingredients in BANG. VPX has not previously disclosed the quantity of
                                       9   creatyl-l-leucine in advertising or on the labels of its cans of BANG®, nor has VPX
                                      10   ever stated that there were more than 40 mg of creatyl-l-leucine in BANG® ready
                                      11   to drink cans. No competitors of VPX sell an energy drink with more creatyl-l-
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                                      12   leucine than BANG. No consumers seeking a specific quantity of creatine in any
       San Diego, CA 92101




                                      13   form have been told by VPX how much creatyl-l-leucine is in the proprietary blend
                                      14   of BANG. Thus, no consumers could reasonably rely on such statements in
                                      15   advertisements (as VPX has not made those statements). In addition, no false
                                      16   statements of fact were made about the quantities of ingredients or their impact on
                                      17   consumers for this product, no consumer could have relied on or did rely on such
                                      18   statements, no statements deceived consumers or were likely to deceive
                                      19   consumers, and no alleged “deception” (as Monster alleges) was or would be
                                      20   material to a consumer. Further, Monster could not have been harmed by any
                                      21   statements relating to creatyl-l-leucine related to the BANG energy drink. As set
                                      22   forth through Dr. Li’s Declaration and the patent, to VPX’s knowledge, VPX is the
                                      23   first to use creatyl-l-leucine in an energy drink. To date, VPX is not aware of any
                                      24   competitors who have sold an energy drink containing creatyl-l-leucine. Upon
                                      25   information and belief, Monster has never made and does not sell an energy drink
                                      26   with creatyl-l-leucine or other form of creatine, even creatine monohydrate. See
                                      27   Monster Response to Request for Admission (“RFA”) Nos. 1-6 (RFA No. 1:
                                      28   “…Monster admits that it has never released an energy drink product with Monster
                                                                                  -32-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 76 of 89 Page ID
                                                                      #:3725


                                       1   branding that contains creatine.”; RFA No. 2: “Monster admits that it has never
                                       2   released an energy drink product with Monster branding that contains creatyl-L-
                                       3   leucine.”
                                       4         Creatine supplements come in many forms in the marketplace and such
                                       5   supplements have been scientifically proven to provide positive health effects,
                                       6   including building muscle and strength and boosting athletic performance, and
                                       7   research has also shown that creatine supplements have the potential for helping
                                       8   with age-related neurological diseases, such as improving brain function and
                                       9   boosting memory. Dr. Li cites to some studies in his Declaration, other studies are
                                      10   available publicly, and studies that are responsive to Monster’s proposed email
                                      11   search terms that are agreed upon by the parties will be reviewed and responsive,
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                                      12   non-privileged documents will be produced. Further, there is no dispute that
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                                      13   studies show that exercise, a healthy lifestyle, and low carbohydrate and low sugar
                                      14   diets can provide benefits (unlike many of Monster’s energy drinks) can provide
                                      15   health benefits and new articles and studies come out all the time. See, e.g., an
                                      16   article dated today, October 30, 2019, in the Wall Street Journal, titled “The Link
                                      17   Between Diet, Exercise and Alzheimer’s - A new study finds that lifestyle changes
                                      18   can improve cognition.” https://www.wsj.com/articles/the-link-between-diet-
                                      19   exercise-and-alzheimers-11572427802. That article cites to a study released on
                                      20   October 30, 2019.
                                      21         The creatyl-l-leucine in a 16 oz. can of a BANG® energy drink is not
                                      22   intended to be a sole source of creatine and does not advertise that it is, but rather
                                      23   is a great tasting drink to add to a well-balanced diet that includes the consumption
                                      24   of other foods containing creatine, such as beef, chicken, pork, eggs, and
                                      25   fish. Further, Bang as a complete product with zero sugars and zero calories is a
                                      26   healthier option than most energy drinks manufactured by its competitors,
                                      27   including Monster, which contain large quantities of sugar, carbohydrates, and
                                      28   other more harmful ingredients. And, in addition to creatyl-l-leucine (Super
                                                                                  -33-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 77 of 89 Page ID
                                                                      #:3726


                                       1   Creatine), Bang contains many ingredients that have been characterized as
                                       2   providing positive health benefits, including caffeine, vitamins, electrolytes,
                                       3   CoQ10 and amino acids. In fact, as referenced above, a recent peer-reviewed
                                       4   double blind study of Bang RTD demonstrated that the BANG® energy drink
                                       5   resulted in a significantly lower (i.e., faster) (p<0.05) psychomotor vigilance mean
                                       6   reaction time versus the placebo as well as fewer lapses.
                                       7         VPX is not aware of any contentions VPX has made in this case or publicly
                                       8   about the quantity of the creatyl-l-leucine (Super Creatine) in a 16 oz. can of a
                                       9   BANG® energy drink or that the quantity of the creatyl-l-leucine (Super Creatine)
                                      10   in a 16-oz can has “an effect on the VITALS and SUBSTANCES in the human
                                      11   body” as phrased in this Interrogatory, as those terms are defined or understood by
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                                      12   VPX, or provides specific health benefits except as compared to other energy
       San Diego, CA 92101




                                      13   drinks offered by competitors. In fact, Monster introduced a similar product called
                                      14   REIGN in order to compete with VPX in a category of drinks third parties call the
                                      15   performance energy category. See e.g., Monster’s Motion for a Preliminary
                                      16   Injunction Exhibit C and D to Emilie Tirre’s Declaration in support of Monster’s
                                      17   Motion, ECF 67-6. Below is an excerpt from Exhibit C, page 24 of 27, showing
                                      18   Reign’s description of ingredients mirroring BANG’s description.
                                      19
                                      20
                                      21
                                      22
                                      23
                                      24
                                      25
                                                 Further in Exhibit D to Tirre’s Declaration, Monster cites to a report from
                                      26
                                           Guggenheim which claims that “Monster has one of the most attractive long-term
                                      27
                                           growth algorithms in our Food and Beverage coverage as we expect organic sales
                                      28
                                                                                  -34-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 78 of 89 Page ID
                                                                      #:3727


                                       1   and EPS CAGR of 10% and 14%, respectively. The sustainable growth outlook is
                                       2   supported by … 3) innovation in energy-adjacent segments such as coffee and
                                       3   “performance energy” with REIGN…”
                                       4         Monster’s counsel stated during meet and confer correspondence that certain
                                       5   paragraphs of the First Amended Complaint were the basis of Monster’s
                                       6   Interrogatories Nos. 4, 7, and 8, specifically paragraphs 46 to 48 of the First
                                       7   Amended Complaint (“FAC”). Paragraphs 46-48 of the FAC, however, do not
                                       8   provide any context for where those statements come from, none of these alleged
                                       9   statements are full quotes, and Monster provided no citations to where these
                                      10   statements were made. As such, it does not appear from the quoted language or the
                                      11   descriptions made by Monster in Paragraphs 46 to 48 that these statements are
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                                      12   about any specific health effects of creatyl-l-leucine in a can of BANG ready to
       San Diego, CA 92101




                                      13   drink energy drinks or related to the quantity of creatyl-l-leucine in a can. Monster
                                      14   does not allege that these statements were made in public, to consumers, or in
                                      15   advertisements. The fact that those statements are not in quotes indicates that the
                                      16   statements are taken out of context and that none of them are about Super Creatine
                                      17   when considered in context. Further, as stated in the prior objections, there is no
                                      18   evidence from Monster or its experts that any of these statements are false. VPX
                                      19   has already addressed and denied many of these statements in a post on its website:
                                      20   https://bang-energy.com/blog/ca-based-monster-energy-file-third-frivolous-
                                      21   lawsuit-against-vpx/, including the following statement by Jack Owoc addressing
                                      22   numerous false allegations in Monster’s Complaint: “I never claim that Bang can
                                      23   reverse intellectual disability and help cure diseases such as Alzheimer’s,
                                      24   Parkinson’s, Huntington’s and other forms of dementia. Bang is infinitely safer and
                                      25   healthier than Monster – consumption of Monster is associated with 17 deaths,
                                      26   heart attack, heartbeat irregularities and countless adverse event reports.”
                                      27   SPECIAL INTERROGATORY NO. 8:
                                      28         If YOU contend that the Super Creatine contained in BANG increases the
                                                                                  -35-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 79 of 89 Page ID
                                                                      #:3728


                                       1   circulating levels of creatine or creatinine in the human body, identify all bases
                                       2   supporting YOUR contention, including the approximate amount of the alleged
                                       3   increases.
                                       4   RESPONSE TO INTERROGATORY NO. 8:
                                       5         Responding Party objects to this Interrogatory on the basis that it seeks
                                       6   information that is confidential and proprietary in nature and is subject to the
                                       7   Protective Order. Responding Party further objects to this Interrogatory as vague
                                       8   as to scope and time and seeking irrelevant information and documents.
                                       9   Responding Party further objects to this Interrogatory as vague and ambiguous as
                                      10   to the terms “BANG” (as defined), “Super Creatine” (as it is not defined in this set
                                      11   of Interrogatories), “contend/contention,” “increases the circulating levels,”
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                                      12   “creatine,” and “alleged increases.” Responding Party further objects to this
       San Diego, CA 92101




                                      13   Interrogatory as irrelevant, unduly burdensome, harassing, and not proportional to
                                      14   the needs of this case under Rule 26(b)(1). Propounding Party further objects to
                                      15   this Interrogatory to the extent it seeks information regarding documents and
                                      16   nonwritten files that may be within the scope of electronic requests for emails, and
                                      17   the Parties are meeting and conferring regarding document production, including
                                      18   custodians, search terms, and objections. Responding Party will not produce
                                      19   documents that are publicly available in response to this Request. Responding
                                      20   Party has no obligation to investigate and discover information and materials from
                                      21   third parties or sources that are equally accessible to Propounding Party such as,
                                      22   for example and without limitation, third party information regarding testing and
                                      23   studies. Responding Party further objects to this Interrogatory as seeking
                                      24   information that calls for expert opinion or a legal conclusion. To the extent
                                      25   information will be analyzed by an expert, such information may be provided in an
                                      26   expert’s report as set forth according to the Court’s schedule. Further, this
                                      27   Interrogatory appears to be duplicative of document requests, including
                                      28   specifically request No. 4. Responding Party incorporates by reference all
                                                                                  -36-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 80 of 89 Page ID
                                                                      #:3729


                                       1   objections made in response to Request for Documents, including but not limited
                                       2   to Nos. 4, 36, and 37.
                                       3         Subject to the foregoing general and specific objections, Responding Party
                                       4   responds as follows:
                                       5         Even though Responding Party is responding to this Interrogatory, to the
                                       6   extent this Interrogatory seeks relevant information, Responding Party does not
                                       7   have the burden of proof as to the topic raised in this Interrogatory. See e.g., Order
                                       8   Denying Monster’s Motion for a Preliminary Injunction, dated June 6, 2019, ECF
                                       9   122, page 6. For example, Propounding Party has the burden of demonstrating that
                                      10   Creatyl-L-Leucine or Creatyl-L-Glutamine do not provide the benefits of creatine.
                                      11   This Interrogatory appears to seek expert testimony, which is premature at this
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                                      12   time and improper prior to the deadline for expert reports. Expert reports and
       San Diego, CA 92101




                                      13   testimony will be served according to the Federal Rules and the Court’s schedule.
                                      14   Responding Party reserves the right to provide a rebuttal to Propounding Party’s
                                      15   position after Propounding Party provides its position, evidence, expert reports,
                                      16   and/or testimony. While Responding Party is not aware of any previous contention
                                      17   that Responding Party has made in this litigation that SUPER CREATINE in
                                      18   BANG® “increases the circulating levels of creatine or creatinine in the human
                                      19   body” by any “alleged increase” as those terms are used in this Interrogatory, and
                                      20   because any such contention in an expert report would be premature at this time,
                                      21   Responding Party explicitly reserves the right to make that contention in this case
                                      22   in the future. To the extent Propounding Party is referring to a specific contention
                                      23   that Propounding Party believes Responding Party has made about SUPER
                                      24   CREATINE increasing “the circulating levels of creatine or creatinine in the
                                      25   human body,” Responding Party objects to this Interrogatory as vague in scope and
                                      26   Responding Party seeks that information from Responding Party so that the scope
                                      27   of this Interrogatory can be clearly defined and Responding Party can respond to
                                      28   any specific contention(s) to which this Interrogatory is targeted. Responding
                                                                                  -37-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 81 of 89 Page ID
                                                                      #:3730


                                       1   Party incorporates by reference the declaration by Dr. Li in support of Defendants’
                                       2   Opposition to Monster’s Motion for Preliminary Injunction, including Exhibit L3
                                       3   (ECF 100 and exhibits 100-1 through 100-3) and documents referred to therein,
                                       4   including United States Patent No. 8,445,466. Exhibit L3 to Dr. Li’s Declaration
                                       5   is a true and correct copy of the poster presentation for this latest study of BANG®.
                                       6   VPX sponsored a double-blind, placebo-controlled, crossover trial study of
                                       7   BANG®, performed by Nova Southeastern University, entitled “The Effects of
                                       8   BANG® Energy on Psychomotor Vigilance,” by Christopher Horn, Madaline
                                       9   Kenyon, Cassandra Carson, Anya Ellerbrock, Lia Jiannine, Tobin Silver, Corey
                                      10   Peacock, Jaime Tartar, and Jose Antonio. In conclusion, the BANG® energy drink
                                      11   resulted in a significantly lower (i.e., faster) (p<0.05) psychomotor vigilance mean
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                                      12   reaction time versus the placebo as well as fewer lapses. Both Creatyl-L-leucine
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                                      13   and Creatyl-L-glutamine in certain BANG® products have been branded under the
                                      14   trademark SUPER CREATINE.
                                      15         This Interrogatory specifically seeks documents from third parties: “identify
                                      16   all bases supporting YOUR contention.” Propounding Party will not produce “all”
                                      17   DOCUMENTS that provide any bases or support for any contention(s) in response
                                      18   to this Interrogatory. Pursuant to Federal Rule of Civil Procedure 33(d), Defendant
                                      19   reserves the right to produce business records in this action from which the answer
                                      20   to the reasonable scope of this Interrogatory may be ascertained. The answer to this
                                      21   Interrogatory may be determined by examining, auditing, compiling, abstracting,
                                      22   or summarizing Responding Party business records (including electronically stored
                                      23   information), and the burden of deriving or ascertaining the answer will be
                                      24   substantially the same for either party. Responding Party will meet and confer
                                      25   with Propounding Party to narrow the scope of this Request so that the non-
                                      26   privileged information in Responding Party’s possession, custody, or control
                                      27   sufficient to respond to this Request is proportionate to the needs of this case and
                                      28   will be produced subject to a Protective Order. Specifically, Responding Party will
                                                                                  -38-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 82 of 89 Page ID
                                                                      #:3731


                                       1   continue to meet and confer with Propounding Party regarding ESI protocols,
                                       2   custodians, search terms, and date ranges.
                                       3   SUPPLEMENTAL RESPONSE TO SPECIAL INTERROGATORY NO. 8:
                                       4         VPX maintains the foregoing and previously asserted general and special
                                       5   objections and supplements its response in light of meet and confer efforts to
                                       6   resolve the discovery dispute between the parties, as follows:
                                       7         The Parties have met and conferred as to email search terms and protocols
                                       8   and have agreed to review certain documents which appear targeted at this request
                                       9   and may be responsive to this Interrogatory, such as studies, etc. VPX is reviewing
                                      10   numerous documents and will supplement its rolling production and may
                                      11   supplement this Interrogatory if additional information is discovered. VPX
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                                      12   maintains that Monster has the burden of proving all elements of each of the
       San Diego, CA 92101




                                      13   asserted causes of action. Monster has not done so. During meet and confer
                                      14   correspondence relating to this Interrogatory, while this Interrogatory does not seek
                                      15   information regarding the quantity of creatyl-l-leucine in BANG energy drinks,
                                      16   Monster claimed that the information regarding the quantity of creatyl-l-leucine
                                      17   and these interrogatories were relevant to claims 1-3 of the First Amended
                                      18   Complaint (FAC), which relate to claims of false advertising, specifically related to
                                      19   alleged statements made to consumers upon which those consumers would rely. In
                                      20   response to Paragraph 51 of the FAC, VPX responded that “Defendants admit
                                      21   Owoc has been asked on social media how much Super Creatine is in BANG® and
                                      22   that such is proprietary information.” Monster does not dispute that the BANG
                                      23   formula is a trade secret; in fact, Monster claims that its own formulas (e.g.,
                                      24   REIGN) are trade secrets and such disclosure would harm the owner of the formula
                                      25   if such information was in the hands of a competitor. Monster does not allege that
                                      26   VPX has ever disclosed the formula for BANG or that any consumer has ever
                                      27   relied on any statements from VPX relating to the formula or quantities of
                                      28   ingredients, other than 300 mg of caffeine, in BANG. VPX maintains that its
                                                                                  -39-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 83 of 89 Page ID
                                                                      #:3732


                                       1   formula and the quantity of creatyl-l-leucine is proprietary and a valuable trade
                                       2   secret which Monster seeks for competitive reasons because VPX’s BANG
                                       3   product is so successful that Monster introduced an almost identical product called
                                       4   REIGN with almost identical packaging, formula, and branding, which specifically
                                       5   targets and is directed to VPX’s customers. In order to resolve discovery disputes
                                       6   during the discovery process in this case, VPX has disclosed through meet and
                                       7   confer efforts that the quantity of creatyl-l-leucine in a can of BANG® ready to
                                       8   drink cans of BANG® energy drinks with the reference to SUPER CREATINE® is
                                       9   less than 40 mg and caffeine is 300 mg. VPX has not disclosed the quantities of
                                      10   the other ingredients in BANG. VPX has not previously disclosed the quantity of
                                      11   creatyl-l-leucine in advertising or on the labels of its cans of BANG®, nor has VPX
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                                      12   ever stated that there were more than 40 mg of creatyl-l-leucine in BANG® ready
       San Diego, CA 92101




                                      13   to drink cans. No competitors of VPX sell an energy drink with more creatyl-l-
                                      14   leucine than BANG. No consumers seeking a specific quantity of creatine in any
                                      15   form have been told by VPX how much creatyl-l-leucine is in the proprietary blend
                                      16   of BANG. Thus, no consumers could reasonably rely on such statements in
                                      17   advertisements (as VPX has not made those statements). In addition, no false
                                      18   statements of fact were made about the quantities of ingredients or their impact on
                                      19   consumers for this product, no consumer could have relied on or did rely on such
                                      20   statements, no statements deceived consumers or were likely to deceive
                                      21   consumers, and no alleged “deception” (as Monster alleges) was or would be
                                      22   material to a consumer. Further, Monster could not have been harmed by any
                                      23   statements relating to creatyl-l-leucine related to the BANG energy drink. As set
                                      24   forth through Dr. Li’s Declaration and the patent, to VPX’s knowledge, VPX is the
                                      25   first to use creatyl-l-leucine in an energy drink. To date, VPX is not aware of any
                                      26   competitors who have sold an energy drink containing creatyl-l-leucine. Upon
                                      27   information and belief, Monster has never made and does not sell an energy drink
                                      28   with creatyl-l-leucine or other form of creatine, even creatine monohydrate. See
                                                                                  -40-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 84 of 89 Page ID
                                                                      #:3733


                                       1   Monster Response to Request for Admission (“RFA”) Nos. 1-6 (RFA No. 1:
                                       2   “…Monster admits that it has never released an energy drink product with Monster
                                       3   branding that contains creatine.”; RFA No. 2: “Monster admits that it has never
                                       4   released an energy drink product with Monster branding that contains creatyl-L-
                                       5   leucine.”
                                       6         Creatine supplements come in many forms in the marketplace and such
                                       7   supplements have been scientifically proven to provide positive health effects,
                                       8   including building muscle and strength and boosting athletic performance, and
                                       9   research has also shown that creatine supplements have the potential for helping
                                      10   with age-related neurological diseases, such as improving brain function and
                                      11   boosting memory. Dr. Li cites to some studies in his Declaration, other studies are
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                                      12   available publicly, and studies that are responsive to Monster’s proposed email
       San Diego, CA 92101




                                      13   search terms that are agreed upon by the parties will be reviewed and responsive,
                                      14   non-privileged documents will be produced. Further, there is no dispute that
                                      15   studies show that exercise, a healthy lifestyle, and low carbohydrate and low sugar
                                      16   diets can provide benefits (unlike many of Monster’s energy drinks) can provide
                                      17   health benefits and new articles and studies come out all the time. See, e.g., an
                                      18   article dated today, October 30, 2019, in the Wall Street Journal, titled “The Link
                                      19   Between Diet, Exercise and Alzheimer’s - A new study finds that lifestyle changes
                                      20   can improve cognition.” https://www.wsj.com/articles/the-link-between-diet-
                                      21   exercise-and-alzheimers-11572427802. That article cites to a study released on
                                      22   October 30, 2019.
                                      23         The creatyl-l-leucine in a 16 oz. can of a BANG® energy drink is not
                                      24   intended to be a sole source of creatine and does not advertise that it is, but rather
                                      25   is a great tasting drink to add to a well-balanced diet that includes the consumption
                                      26   of other foods containing creatine, such as beef, chicken, pork, eggs, and
                                      27   fish. Further, Bang as a complete product with zero sugars and zero calories is a
                                      28   healthier option than most energy drinks manufactured by its competitors,
                                                                                  -41-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 85 of 89 Page ID
                                                                      #:3734


                                       1   including Monster, which contain large quantities of sugar, carbohydrates, and
                                       2   other more harmful ingredients. And, in addition to creatyl-l-leucine (Super
                                       3   Creatine), Bang contains many ingredients that have been characterized as
                                       4   providing positive health benefits, including caffeine, vitamins, electrolytes,
                                       5   CoQ10 and amino acids. In fact, as referenced above, a recent peer-reviewed
                                       6   double blind study of Bang RTD demonstrated that the BANG® energy drink
                                       7   resulted in a significantly lower (i.e., faster) (p<0.05) psychomotor vigilance mean
                                       8   reaction time versus the placebo as well as fewer lapses.
                                       9         VPX is not aware of any contentions VPX has made in this case or publicly
                                      10   about the quantity of the creatyl-l-leucine (Super Creatine) in a 16 oz. can of a
                                      11   BANG® energy drink or that the quantity of the creatyl-l-leucine (Super Creatine)
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                                      12   in a 16-oz can “increases the circulating levels of creatine or creatinine in the
       San Diego, CA 92101




                                      13   human body” as phrased in this Interrogatory, or have specific health benefits
                                      14   except as compared to other energy drinks offered by competitors. In fact,
                                      15   Monster introduced a similar product called REIGN in order to compete with VPX
                                      16   in a category of drinks third parties call the performance energy category. See e.g.,
                                      17   Monster’s Motion for a Preliminary Injunction Exhibit C and D to Emilie Tirre’s
                                      18   Declaration in support of Monster’s Motion, ECF 67-6. Below is an excerpt from
                                      19   Exhibit C, page 24 of 27, showing Reign’s description of ingredients mirroring
                                      20   BANG’s description.
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                                                 Further in Exhibit D to Tirre’s Declaration, Monster cites to a report from
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                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 86 of 89 Page ID
                                                                      #:3735


                                       1   Guggenheim which claims that “Monster has one of the most attractive long-term
                                       2   growth algorithms in our Food and Beverage coverage as we expect organic sales
                                       3   and EPS CAGR of 10% and 14%, respectively. The sustainable growth outlook is
                                       4   supported by … 3) innovation in energy-adjacent segments such as coffee and
                                       5   “performance energy” with REIGN…”
                                       6         Monster’s counsel stated during meet and confer correspondence that certain
                                       7   paragraphs of the First Amended Complaint were the basis of Monster’s
                                       8   Interrogatories Nos. 4, 7, and 8, specifically paragraphs 46 to 48 of the First
                                       9   Amended Complaint (“FAC”). Paragraphs 46-48 of the FAC, however, do not
                                      10   provide any context for where those statements come from, none of these alleged
                                      11   statements are full quotes, and Monster provided no citations to where these
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                                      12   statements were made. As such, it does not appear from the quoted language or the
       San Diego, CA 92101




                                      13   descriptions made by Monster in Paragraphs 46 to 48 that these statements are
                                      14   about any specific health effects of creatyl-l-leucine in a can of BANG ready to
                                      15   drink energy drinks or related to the quantity of creatyl-l-leucine in a can. Monster
                                      16   does not allege that these statements were made in public, to consumers, or in
                                      17   advertisements. The fact that those statements are not in quotes indicates that the
                                      18   statements are taken out of context and that none of them are about Super Creatine
                                      19   when considered in context. Further, as stated in the prior objections, there is no
                                      20   evidence from Monster or its experts that any of these statements are false. VPX
                                      21   has already addressed and denied many of these statements in a post on its website:
                                      22   https://bang-energy.com/blog/ca-based-monster-energy-file-third-frivolous-
                                      23   lawsuit-against-vpx/, including the following statement by Jack Owoc addressing
                                      24   numerous false allegations in Monster’s Complaint: “I never claim that Bang can
                                      25   reverse intellectual disability and help cure diseases such as Alzheimer’s,
                                      26   Parkinson’s, Huntington’s and other forms of dementia. Bang is infinitely safer and
                                      27   healthier than Monster – consumption of Monster is associated with 17 deaths,
                                      28   heart attack, heartbeat irregularities and countless adverse event reports.”
                                                                                  -43-
                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 87 of 89 Page ID
                                                                      #:3736


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                                       3
                                       4    Dated: October 31, 2019                 GORDON REES SCULLY
                                                                                    MANSUKHANI, LLP
                                       5
                                       6                                            By: /s/ Timothy K. Branson
                                       7                                                M. D. Scully
                                                                                        Timothy K. Branson
                                       8                                                Sean P. Flynn
                                       9                                                Holly L.K. Heffner
                                                                                        Michael D. Kanach
                                      10                                                Attorneys for Defendants
                                      11                                                Vital Pharmaceuticals, Inc., dba
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                                                                                        VPX Sports and John H. Owoc
   101 West Broadway, Suite 2000




                                      12                                                aka Jack Owoc
       San Diego, CA 92101




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                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                     Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 88 of 89 Page ID
                                                                      #:3737


                                       1                            CERTIFICATE OF SERVICE
                                       2         I am a resident of the State of California, over the age of eighteen years, and
                                       3   not a party to the within action. My business address is: Gordon Rees Scully
                                       4   Mansukhani, 275 Battery Street, Suite 2000, San Francisco, CA 94111, my
                                       5   electronic mail address is mkanach@grsm.com. On October 31, 2019, I served the
                                       6   foregoing document(s) entitled: DEFENDANT VITAL
                                       7   PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ RESPONSE TO
                                       8   PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL
                                       9   INTERROGATORIES, SET TWO as follows:
                                      10     BY ELECTRONIC MAIL by transmitting via electronic mail the
                                               document(s) listed above to the address(es) listed below on this date pursuant
                                      11       to FRCP 5(b)(2)(E).
Gordon Rees Scully Mansukhani, LLP




                                            Counsel for Plaintiff MONSTER              jhueston@hueston.com
   101 West Broadway, Suite 2000




                                      12
                                            ENERGY:                                    mkaba@hueston.com
       San Diego, CA 92101




                                      13                                               sfeldman@hueston.com
                                            John C. Hueston                            jreiter@hueston.com
                                      14    Moez Kaba                                  mtodisco@hueston.com
                                            Steven N. Feldman                          smishra@hueston.com
                                      15    Joseph A. Reiter
                                            Michael H. Todisco
                                      16    Sourabh Mishra
                                            Hueston Hennigan   LLP
                                      17    523 West 6th Street, Suite 400
                                            Los Angeles, CA 90014
                                      18    Phone: 213-788-4340
                                      19         I declare under penalty of perjury under the laws of the United States of
                                      20   America that the above is true and correct and that I am employed in the office of a
                                      21   member of the bar of this court at whose direction this service was made.
                                      22         Executed on October 31, 2019 at San Mateo, California.
                                      23                                                /s/ Michael D. Kanach
                                      24                                                Michael D. Kanach
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                                           DEFENDANT VITAL PHARMACEUTICALS, INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO
                                             PLAINTIFF MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES, SETS ONE AND TWO
                                       Case 5:18-cv-01882-JGB-SHK Document 148 Filed 11/20/19 Page 89 of 89 Page ID
                                                                        #:3738


                                         1                                     VERIFICATION
                                         2    STATE OF CALIFORNIA               )
                                                                                )
                                         3    CENTRAL DISTRICT                  )
                                         4
                                         5         I, Marc Kesten, declare:
                                         6         I am the Corporate Secretary of VITAL PHARMACEUTICALS, INC.,
                                         7   D/B/A VPX SPORTS, a corporation organized and existing under the laws of
                                         8   California, which is the Defendant in the above-entitled action, and I have been
                                         9   authorized to make this verification on its behalf.
                                        10         I have read the foregoing DEFENDANT VITAL PHARMACEUTICALS,
                                        11   INC., D/B/A VPX SPORTS’ SUPPLEMENTAL RESPONSE TO PLAINTIFF
  Gordon Rees Scully Mansukhani, LLP
     101 West Broadway, Suite 2000




                                        12   MONSTER ENERGY COMPANY’S SPECIAL INTERROGATORIES,
         San Diego, CA 92101




                                        13   SETS ONE AND TWO on file herein and know the contents thereof. To the
                                        14   extent I have personal knowledge of the matters set forth therein, the same are true
                                        15   and correct. Insofar as said matters are a composite of the information of many
                                        16   individuals, I do not have personal knowledge concerning all of the information
                                        17   contained in said Response, but I am informed and believe that the information set
                                        18   forth therein for which I lack personal knowledge is true and correct.
                                        19         I declare under penalty of perjury under the laws of the State of California
                                        20   that the foregoing is true and correct.
                                        21         Executed at Dallas, Texas, on October 30, 2019.
                                        22
                                        23
                                        24
                                        25                                                    ________________________
                                        26                                                         Marc J. Kesten

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                                                                                    VERIFICTION
